                                    Exhibit 6A
        Objectors’ Designations From August 30, 2013 Deposition of Kevyn Orr




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  Designation:
   10:24    Q.    Mr. Orr, good morning.
      25    A.    Good morning.


  Designation:
   11:13    Q.    If I ask a question that isn't clear, will you ask me
      14          to rephrase it?
      15    A.    Yes.
      16    Q.    And if I ask a question and you answer it, I'm going
      17          to assume that you understood it; is that fair?
      18    A.    Yes.
      19    Q.    Mr. Orr, in the course of negotiating and executing
      20          the forbearance agreement, did you receive legal
      21          advice?
      22    A.    Yes. The forbearance and the optional payment
      23          agreement?
      24    Q.    That's right.
      25    A.    And we'll refer to that as forbearance agreement going
   12: 1          forward?
       2    Q.    I was going to call it that because it's shorter, if
       3          that's okay.
       4    A.    Sure. That's fine.
       5    Q.    But you're right. That's what I mean.
       6    A.    Yes. Yes, I did receive legal advice.
       7    Q.    And did you receive legal advice from the City's law
       8          department on the subject?
       9    A.    I don't recall. I don't think so.
      10    Q.    Did you receive legal advice from Jones Day on the
      11          subject?
      12    A.    Yes, among others.
      13    Q.    And I take it that you relied on the legal advice you
      14          received in making the decision to execute the
      15          forbearance agreement?
      16    A.    Legal advice and business advice from our consultants,
      17          yes.
      18    Q.    Who were the others that you obtained legal advice
      19          from?
      20    A.    May have obtained legal advice from our local counsel.
      21    Q.    Ah, yes.
      22    A.    And in fact I said I don't recall if I obtained any
      23          legal advice from the corporation counsel's office. I
      24          just don't recall, so I'm not going to speculate.
      25    Q.    Three possible. You know you got legal advice from
   13: 1          Jones Day.
       2    A.    Absolutely.
       3    Q.    You may have or did from local counsel.
       4    A.    Yes.
       5    Q.    And you can't recall whether you did from the City's
       6          law department.
       7    A.    Yes.
       8    Q.    Are you waiving the attorney-client privilege in
       9          connection with the motion to assume the forbearance




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      10           agreement?
      11                       MR. SHUMAKER: Objection, could call for
      12            the revelation of attorney-client communication.
      13                       You can answer the question, but yes or no.
      14       A.   No.
      15       BY MR. HACKNEY:
      16       Q.   If I ask you questions regarding the legal advice
      17            rendered to you in connection with the forbearance
      18            agreement's negotiation or execution, you will refuse
      19            to answer those questions on the grounds of the
      20            attorney-client privilege; is that correct?
      21                       MR. SHUMAKER: If you're asking what the
      22            advice is, certainly. The communications between
      23            counsel and what he was -- what he was advised on,
      24            certainly.
      25                       THE WITNESS: Right.
   14: 1       BY MR. HACKNEY:
       2       Q.   Okay. That's correct?
       3       A.   Yes. That is correct.
       4       Q.   So if I ask you what your view is on the likelihood
       5            that the City's Swap and validity arguments will
       6            prevail, you will assert the attorney-client
       7            privilege; is that correct?
       8       A.   Yes, more than likely.
       9       Q.   If I ask you your view on the likelihood that the
      10            pledge of the gaming revenues under the Michigan
      11            Gaming Act is an invalid pledge, you'll assert the
      12            attorney-client privilege, correct?
      13       A.   Yes, more than likely.
      14       Q.   If I ask you questions regarding the likelihood that
      15            the City would prevail on a claim or defense against
      16            the Swap counterparties, you'll assert the
      17            attorney-client privilege, correct?
      18       A.   Yes, more than likely.
      19       Q.   And I guess I gotta clarify. When you say more than
      20            likely, I mean are you asserting the privilege with
      21            respect to those types of questions? I'm trying to
      22            save having to --
      23       A.   Sure.
      24                       MR. SHUMAKER: Let me state for the record
      25            you can ask questions as to whether those -- those
   15: 1            factors were considered by Mr. Orr, but obviously if
       2            you're going to ask what he was -- what he was advised
       3            by counsel, then I'm going to instruct him not to
       4            answer.
       5       A.   When I say more than likely, that's -- that's exactly
       6            the distinction that I'm trying to make. Did I have
       7            discussions with my counsel? Yes. Did those
       8            discussions take into consideration some of those
       9            factors? Yes. Am I going to tell you what those
      10            discussions were and what, if any, conclusions were
      11            made? No.
      12       BY MR. HACKNEY:
      13       Q.   Okay. Fair enough.
      14                       On July 15, 2013, the City entered into
      15            what we're going to call the forbearance agreement


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      16            with the Swap counterparties and the service
      17            corporations; is that correct?
      18       A.   Yes.

  Designation:
   15:25    Q.      Well, let me -- let me ask it a different way, which
   16: 1            is isn't it true that Mr. Buckfire was the lead
       2            negotiator for the City on the business terms of what
       3            became the forbearance agreement?
       4    A.      Yes.
       5    Q.      And Mr. Buckfire has testified that the negotiations
       6            in earnest regarding what became the forbearance
       7            agreement were conducted between June 4th and
       8            June 11th of 2013?
       9    A.      I don't recall those specific dates, but I think
      10            that's the right time frame. Let me -- let me try to
      11            be as clear as I can so we can move on. We began
      12            talking, discussing ways with my advisors, without
      13            discussing what we discussed, to provide the City with
      14            liquidity almost immediately upon my appointment. The
      15            negotiations that you're referring to I believe did
      16            occur within that time frame.


  Designation:
   16:23    Q.      And as he was the lead negotiator, he's probably the
      24            guy who would know, right?
      25    A.      Sure, absolutely.


  Designation:
   18:14    Q.      If Mr. Buckfire testified there was an agreement in
      15            principle by June 11th of 2013, does that sound
      16            correct to you?
      17    A.      Yes, the second -- yes. Yes, it does.


  Designation:
   20:11    Q.      Would you agree that, notwithstanding your involvement
      12            in these calls with the Swap counterparties, it's
      13            still fair to characterize Mr. Buckfire --
      14    A.      Yes.
      15    Q.      -- as the lead negotiator for the City?
      16    A.      Yes.


  Designation:
   20:17    Q.      Using Mr. Buckfire's recollection of June 4th as kind
      18            of the kickoff of these negotiations which you don't
      19            have a basis to --
      20    A.      No.
      21    Q.      -- contradict --
      22    A.      Not at all.
      23    Q.      -- I'd like to kind of level set where you were at
      24            going in to June 4th. Okay?



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      25                       Your assumption prior to June 4th was that
   21: 1            the Swap counterparties could unilaterally --
       2            unilaterally terminate the Swap, correct?
       4       A.   Well, my understanding was the City -- there were a
       5            series of events which put the City in default. The
       6            consent agreement prior to my appointment, the consent
       7            agreement, the declaration of a financial emergency,
       8            my appointment was an event of default. My
       9            understanding was that due to those multiple events of
      10            default, the counterparties had the ability to
      11            exercise their rights and deprive the City of much
      12            needed casino revenue.
      14       Q.   We'll get to the casino revenue in a moment which is
      15            something that's trapped under -- potentially trapped
      16            under the collateral agreement, right?
      17       A.   Right.
      18       Q.   I want to talk about the Swap agreement which can lead
      19            to a large termination payment --
      20       A.   Yes.
      21       Q.   -- that the service corporations might owe.
      22       A.   Yes.
      23       Q.   And you understand the distinction between those two
      24            documents --
      25       A.   Yes.
   22: 1       Q.   -- right?
       2       A.   Um-hm.
       3       Q.   And your assumptions prior to the June 4th meeting
       4            were that as a result of these events of default under
       5            the Swap that occurred, some of them, prior to your
       6            appointment --
       7       A.   Yes.
       8       Q.   -- that the Swap counterparties could unilaterally
       9            terminate the Swap and demand a sizable payment from
      10            the service corporations, correct?
      12       A.   Yeah, my assumption was, my understanding was that,
      13            yes, they could terminate and demand a sizable
      14            payment, whether from the service corporations or
      15            eventually from the City. It would hit our bottom
      16            line, yes.
      18       Q.   That's right because it ripples --
      19       A.   Yes.
      20       Q.   -- through the service corporations to the City by the
      21            service agreements, right?
      22       A.   Yeah.
      24       A.   If that is in fact the process, yes.
   23: 1       Q.   Now, another one of your assumptions prior to June 4
       2            was that the Swap counterparties could also
       3            unilaterally trap cash under the collateral agreement,
       4            right?
       7       A.   My understanding was that the Swap counterparties
       8            could instruct the custodian to exercise their rights
       9            to trap cash.
      11       Q.   And that was one of the rights that they had as you
      12            were going into the negotiations with them, correct?
      15       A.   My understanding -- yes. My understanding was that
      16            they had that right.


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      18       Q.   That's why you were negotiating with them, right?
      19       A.   My -- we were negotiating with them to make sure that
      20            the City had access to the revenue that it needed
      21            quite badly and that the City would not suffer the
      22            imposition of a fairly significant termination
      23            payment.
      24       Q.   Now, another one of your assumptions prior to June 4
      25            was that no other party could stop the Swap
   24: 1            counterparties from either terminating the Swaps or
       2            trapping cash, correct?
       4       A.   Yeah, my assumption was -- or, rather, my
       5            understanding was that the Swap counterparties had
       6            certain rights and that they had the ability to
       7            exercise those rights and remedies. Whether another
       8            party could, quote-unquote, stop them could depend on
       9            a number of different factors.


  Designation:
   25:10    Q.      Okay. Now, I want to also get a level set on your
      11            objectives going into the negotiations, and I
      12            understand that when I say you, I mean the City,
      13            Mr. Buckfire, there are multiple parts --
      14    A.      My -- my team --
      15    Q.      That's right.
      16    A.      -- consultants.


  Designation:
   26: 8    Q.      Now, I'd like to ask about your objectives as you go
       9            into the negotiation. Okay?
      10    A.      Um-hm.
      11    Q.      You understand that when you go into a negotiation
      12            it's important to have an understanding of both the
      13            financial realities that your party is -- is facing as
      14            well as the legal realities that your party's facing,
      15            correct?
      16    A.      Yes.
      17    Q.      That informs the negotiation, right?
      18    A.      In making an informed decision, I would say you want
      19            to have an understanding of those factors.
      20    Q.      And you also want to understand what your counterparty
      21            in the negotiation needs and wants are as well as
      22            their potential legal rights, right?
      23    A.      What your counterparty negotiations perceived needs
      24            and rights are.
      25    Q.      That's right. That's right.
   27: 1                       Now, I'm going to ask about the City's
       2            objectives in entering into the negotiations. Okay?
       3            Objective one of the City was to get the
       4            counterparties to waive their cash trap at least on an
       5            interim basis to allow the City access to casino
       6            revenues, correct?
       7    A.      I don't know if I would characterize it as objective
       8            one. It wasn't as if we were trying to prioritize one
       9            objective over the other. It was an objective to make


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      10            sure that the cash did not get trapped.
      11       Q.   Okay. So that was one of the objectives.
      12       A.   Yes.
      13       Q.   A second objective was that you wanted to modify the
      14            Swap to get a discount on the termination amount,
      15            correct?
      16       A.   Yes. That was certainly an objective, yes.
      17       Q.   Okay.
      21       Q.   And the third was that you wanted to obtain an option
      22            about when you could direct the termination of the
      23            Swap, correct?
   28: 1       A.   Here again, I understand your characterization. I'm
       2            going to say that that -- that is a fair
       3            characterization without trying to quantify as one
       4            objective is more important than the others, and let
       5            me explain my answer.


  Designation:
   28:25    Q.      And I don't mean to order them, but -- so I won't
   29: 1            focus on it. I just gave you them in an --
       2    A.      Sure.
       3    Q.      -- order.
       4    A.      Right.
       5    Q.      But those were three objectives of your negotiations,
       6            correct?
       7    A.      I think it's fair to say that.
       8    Q.      And you achieved those three objectives in the
       9            forbearance agreement, correct?
      10    A.      We believe so.


  Designation:
   32: 7    Q.      So did Mr. Buckfire have authorization to make a
       8            formal proposal in the first meeting?
       9    A.      Yes.
      10    Q.      And to your knowledge did he make one?
      11    A.      I believe so.
      12    Q.      What was the proposal?
      13    A.      I don't remember what the exact number was, but I
      14            believe the concepts were consistent throughout.


  Designation:
   33: 5    Q.      And do you remember whether they countered?
       6    A.      I don't remember specifically. I believe they may
       7            have.
       8    Q.      Okay. Do you know the terms of their counter?
       9    A.      Generally in the same concept I said. If you're
      10            looking for a number, for instance, we said 50 percent
      11            and they came back with 98. I don't recall those
      12            specifics.
      13    Q.      So you can't give me the bid and the ask --
      14    A.      Yeah.
      15    Q.      -- on what the Swap would be modified as far as the
      16            termination?


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      17       A.   Yes, that's correct.


  Designation:
   33:21    Q.      Did the City enter into a nondisclosure agreement in
      22            connection with these negotiations?
      23    A.      Yes, I believe so.
      24    Q.      With the Swap counterparties?
      25    A.      Yes.


  Designation:
   35:18    Q.      Is it fair to say that if I ask you for the specific
      19            ebb and flow of the negotiations between the Swap
      20            counterparties in terms of the precise business
      21            deal --
      22    A.      Right.
      23    Q.      -- you would have to defer to Mr. Buckfire's
      24            recollection because he was more intimately involved?
      25    A.      That's fair. Because Ken was -- Ken would have the
   36: 1            direct meetings and then call me back. We'd go back
       2            and forth, and I didn't keep notes and I didn't keep a
       3            calendar, so --

  Designation:
   36:20    Q.      Mr. Orr, I want to clear something up. Maybe I've
      21            been saying it the wrong way. I've been using the
      22            term "marching orders" with the respect to the way
      23            that you and Mr. Buckfire operated.
      24    A.      Right.
      25    Q.      And is a better way to say it that you authorized
   37: 1            Mr. Buckfire to negotiate the best possible deal he
       2            could with the Swap counterparties and that's what he
       3            did?
       4    A.      That's a fair characterization, sure.
       5    Q.      And at some point did he come out of a meeting and
       6            say, Mr. Orr, this is the best deal that I'm able to
       7            get out of these Swap counterparties and it's my
       8            advice that we take it?
       9    A.      Yes.
      10    Q.      And was that on or about June 11th, 2013, which is the
      11            date he recalls the agreement in principle being
      12            reached?
      13    A.      Yes.


  Designation:
   37:16    Q.      And what was the agreement in principle that was
      17            reached as you understood it?
      18    A.      The agreement was essentially that in exchange for a
      19            reduced optional termination payment -- we'll just
      20            call it the payment under the forbearance agreement --
      21            the Swap counterparties would agree not to trap the
      22            cash, they would agree to release their liens, and
      23            also release their claims, I believe, against your
      24            client, Syncora, and we would have access to that cash


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      25            going forward provided we made the discounted payment
   38: 1            at some point in the future. I believe at that point
       2            it was in the next 60, 90 days.
       3       Q.   Isn't the -- wasn't the agreement in principle that
       4            you'd have an option to direct the termination of the
       5            Swap?


  Designation:
   38: 8    A.      Yeah. I believe the way it works is we would have an
       9            option to request the counterparties exercise their
      10            rights at a discounted level.


  Designation:
   38:12    Q.      And I'm not asking about the forbearance agreement.
      13            I'm asking about the agreement in principle.
      14    A.      Yeah, I think those were the general confines of the
      15            agreement in principle.
      16    Q.      Okay. Now, you did not invite anyone else to the
      17            negotiations with the Swap counterparties; isn't that
      18            correct?
      19    A.      I did not invite anyone else. I don't know if Ken
      20            invited anyone else or anyone else on my behalf
      21            invited anyone else.
      22    Q.      And you did not direct anyone such as Mr. Buckfire or
      23            others to invite any other parties into the
      24            negotiation, correct?
      25    A.      Correct.
   39: 1    Q.      And you did not invite Syncora to participate in these
       2            negotiations, correct?
       3    A.      Correct.
       4    Q.      And you did not inform Syncora of the existence of
       5            these negotiations, correct?
       6    A.      The reason I'm hesitating is at some point clearly
       7            Syncora became aware, so I don't know how they were
       8            informed, but I did not do it, correct.
       9    Q.      You didn't do it.
      10    A.      Correct.
      11    Q.      And you did not invite FGIC to attend these
      12            negotiations, correct?
      13    A.      I believe that's correct.
      14    Q.      And you didn't direct anyone acting on your behalf to
      15            invite FGIC, correct?
      16    A.      Correct.
      17    Q.      Nor did you inform FGIC of the existence of these
      18            negotiations, correct?
      19    A.      Me personally, no.
      20    Q.      You didn't invite U.S. Bank as trustee to the funding
      21            trust or as custodian or contract administrator to
      22            attend any negotiations, correct?
      23    A.      Me personally, no.
      24    Q.      And you didn't direct anyone else acting on your
      25            behalf to do so, correct?




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   Designation:
    40: 1    A.   Correct.


   Designation:
    40:24    Q.   At any time prior to June 11th, did the Swap
       25         counterparties send a notice of a default under the
    41: 1         Swap?
        2    A.   I don't recall, but I don't think so.
        3    Q.   At any time prior to June 11th, did the Swap
        4         counterparties designate an early termination date?
        5    A.   I don't recall, but I don't think so.
        6    Q.   Did they ever threaten to?
        7    A.   They didn't threaten me.
        8    Q.   They never threatened you personally.
        9    A.   Right.
       10    Q.   Did they threaten other people who reported the
       11         threats to you?
       12    A.   Not that I know of.
       13    Q.   At any time during these negotiations, did the Swap
       14         counterparties designate an optional early
       15         termination?
       16    A.   Not that I know of.
       17    Q.   Did they ever threaten to do that?
       18    A.   Not me.
       19    Q.   And did they ever threaten anyone else who reported
       20         the threat to you?
       21    A.   Not to my knowledge, no.
       22    Q.   At any time during these negotiations, did the Swap
       23         counterparties contend that the City was in breach of
       24         the collateral agreement?
       25    A.   Which collateral agreement are you talking about?
    42: 1    Q.   The collateral agreement with respect to the casino
        2         revenues.
        3    A.   The 2009 agreement?
        4    Q.   Yes.
        5    A.   Okay. Not that I recall.
        6    Q.   In fact, the City was endeavoring to make the monthly
        7         Swap payments into the holdback account throughout
        8         this period, correct?
        9    A.   Yes. They were being paid in the ordinary course.
       10    Q.   And to the best of your knowledge, the City has
       11         complied with all of its obligations under the
       12         collateral agreement vis-à-vis the Swap
       13         counterparties.
       14    A.   No.
       15    Q.   That's not correct?
       16    A.   No, I mean I think we were -- as I said previously
       17         today, we were in default.
       18    Q.   Of the collateral agreement?
       19    A.   Right. You mean in terms of making the payments due
       20         under the agreement?
       21    Q.   Well, the collateral agreement I know so -- the
       22         collateral agreement and the Swap are -- they are two
       23         different agreements --
       24    A.   Yes.


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       25      Q.   -- that certainly relate to one another.
    43: 1      A.   Right.
        2      Q.   I'll say that.
        3      A.   Okay.
        4      Q.   I've talked about events of default under the Swap
        5           that could lead to the big termination payment.
        6      A.   Right.
        7      Q.   We talked about that earlier, right?
        8      A.   Right.
        9      Q.   I'm talking specifically now about whether there were
       10           events of default under the collateral agreement. Had
       11           you breached any of the provisions of the collateral
       12           agreement?
       15      A.   Yeah. That's why I'm being a little -- a little
       16           careful here. There may be conduct under the Swaps
       17           that could be conceivably a breach under collateral
       18           agreement. I don't know what they are, so I'm being
       19           hesitant. But to get to your question, were we making
       20           the payments due under the Swaps? Yes.
       22      Q.   What was -- what was the conduct under the Swap that
       23           might be --
       24      A.   I'm not sure.
       25      Q.   As you sit here today, are you aware of any breaches
    44: 1           of the collateral agreement by the City?
        4      A.   None from my perspective, but there might be. What I
        5           don't want to do is sit here today and try to draw a
        6           conclusion as to what might be a breach of the
        7           collateral agreement vis-a-vis the Swap agreement.
        8           I'm trying to answer your question that we were making
        9           the payments that were due.
       11      Q.   Yeah, I appreciate that. I mean, I guess your answer
       12           is there may be breaches of the collateral agreement,
       13           there may not be, you don't know.
       14      A.   I don't know, that's right.
       15      Q.   Now, this June 11th agreement in principle that we
       16           were talking about earlier --
       17      A.   Right.
       18      Q.   -- was there a term sheet?
       19      A.   No. To the best of my recollection, I did not see a
       20           term sheet at that time.
       21      Q.   And just to be clear, do you know whether there was a
       22           term sheet that you just didn't see?
       23      A.   Yeah. There might have been a term sheet that I
       24           didn't see. I think Ken and I and some of the other
       25           attorneys at Jones Day, Corinne, David Heiman and
    45: 1           others would have a -- I'm trying to relay to you a
        2           sense that we'd have calls, but sometimes I don't
        3           recall seeing a specific term sheet at that time.


   Designation:
    45:18    Q.     Do you remember whether there was a term sheet?
       19    A.     There eventually was a term sheet. I just don't
       20           remember whether or not it was on June 11th.
       21    Q.     That's fine. So do you think it went agreement in
       22           principle, non-binding term sheet, and then


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       23           negotiation of definitive documents?
       24      A.   Yes.

   Designation:
    46: 6    Q.     And so at some point you did see a non-binding term
        7           sheet that embodied the agreement in principle
        8           Mr. Buckfire had negotiated, correct?
        9    A.     Yes. Oh, yes.


   Designation:
    46:18    Q.     And the term sheet was consistent with the agreement
       19           in principle that we discussed earlier that
       20           Mr. Buckfire negotiated?
       21    A.     Yes. It had obviously, as terms do, have more
       22           information, but it was consistent.
       23    Q.     So between July 11 -- I'm sorry.
       24                      Between June 11th --
       25    A.     Okay.
    47: 1    Q.     -- and July 15th, which is the execution date of the
        2           forbearance agreement --
        3    A.     Yes.
        4    Q.     -- you pivot from negotiating this agreement in
        5           principle that Mr. Buckfire has struck to now
        6           documenting it, correct?
        7    A.     Yes.
        8    Q.     Now, Mr. Buckfire has testified that those -- that
        9           those negotiations proceeded without interruption from
       10           June 11th to Ju -- July 15th. Is that consistent with
       11           your recollection?
       12    A.     The negotiations continued. I think there were other
       13           events related to the agreement, some of them by your
       14           client in that time frame, but yes, we continued
       15           negotiating.
       16    Q.     Okay. And there were no serious interruptions in
       17           those negotiations, correct?
       19    A.     There was an agreement reached. I'm going to take
       20           your time frame, June 11th. Ken and I had a
       21           discussion about the amount. It was somewhere south
       22           of 25 percent. I believe in the same second week I
       23           said we can't do this deal for less than a 25 percent
       24           discount. I believe the negotiations broke down, then
       25           the next day they came back without changing the
    48: 1           framework of the agreement, just the number changed,
        2           the discount went up, and then I believe that -- yes,
        3           I believe negotiations continued continually
        4           throughout that time.


   Designation:
    48:17    Q.     Were there any serious interruptions in the
       18           negotiations between June 11 and July 15?
       19                      MR. SHUMAKER: Same objection.
       20    A.     You keep saying serious, and to the best of my
       21           knowledge there were no material or significant
       22           interruptions. I don't want to try to characterize


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       23         what serious means.       I think negotiations continued
       24         unabated.


   Designation:
    65:11    Q.   During the course of your negotiations back to the
       12         agreement in principle of what became the forbearance
       13         agreement, did you ever solicit the views of any of
       14         the other monoline insurers, such as Ambac or Assured
       15         or National about what they thought the City should
       16         do?
       17    A.   Not that I recall.
       18    Q.   Did you ever solicit the views of any COP holders
       19         about what they thought the City should do with
       20         respect to the --
       21    A.   I didn't solicit their views, no.
       22    Q.   Did you direct anyone acting on your behalf to solicit
       23         the views of any of those parties?
       24    A.   Not that I recall.
       25    Q.   Isn't it true that getting the forbearance agreement
    66: 1         was a life or death issue for the City of Detroit?
        2    A.   Yes, getting the forbearance agreement was very
        3         important to the City of Detroit.
        4    Q.   Is it a life or death issue?
        6    A.   When you say life or death, you know, here again I'm
        7         trying to be responsive, but I want (sic) to
        8         characterize it. The City needs the casino revenue
        9         badly. It was cash poor at that time. It would have
       10         facilitated without access, and it continues to be
       11         relatively cash poor without access. It could have
       12         facilitated a cash crisis. Life or death suggests to
       13         me it was critical and it might have been life or
       14         death, but what it does mean is that we could not have
       15         made the investment and cannot make the investment
       16         that is so crucial for the City.
       18    Q.   In fact, isn't it your position that without access to
       19         the casino revenues that people in the City of Detroit
       20         may die?
       21    A.   Yes.


   Designation:
    71: 3    Q.   Given the importance of this issue, I assume that you
        4         had made requests from the State of Michigan to
        5         provide the City with liquidity prior to June 4th;
        6         isn't that correct?
        7    A.   Sir, you can assume whatever you want. The reality is
        8         under my contract I have an obligation to report and
        9         coordinate with the State. We had had discussions, I
       10         believe, with the State about potential liquidity, and
       11         we were told that that would be unavailable.
       12    Q.   And you conveyed to the State the seriousness of the
       13         City's situation, correct?
       14    A.   I don't think I had to convey to the State the
       15         seriousness of the City's situation. I think the
       16         State's well aware.


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       17      Q.   So the State understood that getting liquidity was a
       18           life or death issue for the City of Detroit, correct?
       21      A.   Whatever the State understood, what I'm trying to tell
       22           you is I conveyed to them what our needs are.
       24      Q.   You conveyed the extreme seriousness of the situation
       25           to the State, correct?
    72: 1      A.   As I said, I don't think I had to convey it to the
        2           State. The State had just been through almost two
        3           years of determining a financial emergency existed.
        4      Q.   And the State did not provide the City with any
        5           liquidity prior to June 4th, correct?
        6      A.   No.
        7      Q.   I am correct that they didn't?
       10      A.   You are correct, they did not.


   Designation:
    72:25    Q.     And the City owns a fine art collection; isn't that
    73: 1           correct?
        2    A.     The City owns the Detroit Institute of Arts in its
        3           collection.
        4    Q.     And did you attempt to value the art collection with
        5           an eye towards selling pieces of the art collection to
        6           relieve the City's life or death liquidity crisis?
        8    A.     Prior to June 14th?
       10    Q.     Prior to June 11th, which is the date of the agreement
       11           in principle.
       12    A.     No. We've entered into an agreement with Sotheby's to
       13           begin that process now, not related to relieving the
       14           liquidity crisis, just as a matter of prudence to
       15           determine the value of assets.
       16    Q.     Your expectation is that the -- that the City's art
       17           collection is very valuable; isn't that correct?
       18    A.     I've been told that, yes.
       19    Q.     Isn't it possible it may be worth billions of dollars?
       20    A.     That would be speculation. I've been told it is
       21           valuable.
       22    Q.     Could it be worth hundreds of millions of dollars?
       23    A.     That would be speculation. I've been told that it's
       24           valuable.
       25    Q.     Okay. So as of June 4th, you didn't know whether or
    74: 1           not the City might have billions of dollars of art
        2           sitting in its art institute; is that your testimony?
        3    A.     No. My testimony is that I understand it as valuable.
        4           The exact value of it is to be determined.
        5    Q.     And you made no effort to sell any of that art prior
        6           to engaging in the negotiations with the Swap
        7           counterparties, correct?
        8    A.     No. That's true.
        9    Q.     What about federal aid? Did you attempt -- did you
       10           attempt to obtain federal aid prior to the June 4
       11           commencement of negotiations with the Swap
       12           counterparties?
       13    A.     I don't know if it was prior to or around that time.
       14           It may have been. We may have sought federal aid
       15           prior to that.


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       16      Q.   And you conveyed the seriousness of the situation to
       17           whomever you spoke to at the federal government?
       18      A.   Yes, I believe the federal government was aware of the
       19           seriousness of the situation.
       20      Q.   And the federal government was also unwilling to
       21           provide aid to the City of Detroit; is that your
       22           testimony?
       23      A.   Yes, direct aid.
       24      Q.   Let me ask you some questions about the service
       25           corporations. The service corporations are two
    75: 1           entities that have long names that I'll only say to
        2           you if you want -- really want me to.
        3      A.   We'll stipulate I know what you mean by the service
        4           corporations.
        5      Q.   And there are two of them?
        6      A.   There are two.
        7      Q.   Okay.
        8      A.   Police and Fire General Services.
        9      Q.   There you go. So you already know them and you said
       10           the names. So the two service corporations are
       11           parties to the forbearance agreement, correct?
       12      A.   Yes.
       13      Q.   And Mr. Buckfire testified yesterday, I'll represent
       14           to you, that his understanding is that you directed
       15           the service corporations to execute the forbearance
       16           agreement and they did so; is that correct?
       17      A.   No.
       18      Q.   Okay. Were there arms' length negotiations with the
       19           service corporations?
       20      A.   To the best of my knowledge, there was.
       21      Q.   And who led those?
       22      A.   I'm not quite sure. I know that -- in response to
       23           your question, I did not direct a service corporation.
       24           They were organized by the City. And they are managed
       25           by City employees, but I had no direct -- I gave no
    76: 1           direct instruction to either of the service
        2           corporations.
        3      Q.   Okay. So my question was about negotiations with the
        4           service corporations.
        5      A.   Right.
        6      Q.   Who conducted the arms' length negotiations with the
        7           service corporations on behalf of the City?
        8      A.   I'm not sure.
        9      Q.   Well, you know it wasn't you?
       10      A.   Yes, it wasn't me.
       11      Q.   And did you ever direct Mr. Buckfire to engage in
       12           direct negotiations with the service corporations?
       13      A.   No. I directed Mr. Buckfire to do whatever needed to
       14           get done to get the agreement in principle resolved
       15           and signed. That's what I did, but I did -- said
       16           nothing specific. Just to be responsive to your
       17           question, said oh, go talk to the service
       18           corporations, there was nothing that specific.
       19      Q.   So to the extent there was a negotiation that needed
       20           to be had, it was his job to go have it?
       21      A.   It was his or someone else on my -- on my


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       22           reorganization team's job, yeah, sure.
       23      Q.   Well, did you direct anyone else on your team to go
       24           negotiate with the service corporations?
       25      A.   No. Once we reached an agreement in principle, I
    77: 1           directed my team to more or less go forth and get it
        2           documented and get it done.
        3      Q.   And the service corporations are legally separate from
        4           the City, correct?
        5      A.   Yes, they are.
        6      Q.   Your powers as emergency financial manager do not
        7           extend to the service corporations, correct?
        8      A.   I haven't examined that question, so I can't answer
        9           you yes or no.
       10      Q.   Can you direct their actions under PA 436?
       11      A.   I'm not sure.
       12      Q.   Do you have any firsthand knowledge that the service
       13           corporations engaged in arms' length negotiations with
       14           the Swap counterparties?
       15      A.   No.
       16      Q.   If they had, do you think that's something you would
       17           have likely heard about?
       20      A.   I may have. As emergency manager, there are a number
       21           of things that occur, as you might imagine, on a daily
       22           basis that I may or may not hear of. I might have.
       24      Q.   As you sit here today, though, can you recall hearing
       25           that there were ongoing negotiations between the
    78: 1           service corporations and the Swap counterparties?
        2      A.   No.


   Designation:
    78:13    Q.     I was just asking whether -- you understand that the
       14           service corporations have service contracts with the
       15           City?
       16    A.     Yes.
       17    Q.     And you understand that the City has hedge-related
       18           payments that it has to make to the service
       19           corporations --
       20    A.     Yes.
       21    Q.     -- that they then can use to make to the Swap
       22           counterparties under the Swap?
       23    A.     Yes.


   Designation:
    79: 2    Q.     Do you understand that the collateral agreement
        3           secures the City's obligation to the service
        4           corporations and the service corporations' obligation
        5           to the Swap counterparties?
        6    A.     That's the legal conclusion. It might. That's -- I'm
        7           going to stay away from relaying my understanding
        8           because, frankly, I haven't -- I'm going to be
        9           careful, frankly. It might.
       10    Q.     Okay. You don't know as you sit here today?
       11    A.     I have an impression of something along those lines,
       12           yes.


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       13      Q.   And what is it?
       14      A.   That it does -- it may well secure it. It's just that
       15           it's a legal conclusion that I don't want to make.

   Designation:
    80: 1    Q.     Now, if the City's able to perform under the
        2           forbearance agreement and exercises the option, the
        3           effect of this is that the hedge will be terminated,
        4           correct?


   Designation:
    80: 7    A.     I believe there will no longer be a need for the
        8           hedge, yes.


   Designation:
    80:10    Q.     And the collateral agreement will also be terminated
       11           in that event, correct?
       12    A.     If we -- if the City performs?
       13    Q.     Right.
       14    A.     Yes.
       15    Q.     And that will free up the casino revenues to be used
       16           by the City, correct?
       17    A.     Yes.
       18    Q.     Okay. How does that benefit the service corporations?
       19    A.     I don't know if it does or doesn't. I know it
       20           benefits the City.
       21    Q.     Can you think of a way that it benefits the service
       22           corporations as you sit here today?
       23    A.     No. That would be speculation.
       24    Q.     And you understand that the service corporations
       25           depend on the City to make the payments of their


   Designation:
    81: 1           various obligations both under the COPs and the Swap?
        2    A.     I believe that's true.
        3    Q.     They don't have any independent sources of income?
        4    A.     To the best of my knowledge, they do not.
        5    Q.     And your view today is that the City of Detroit is
        6           insolvent, correct?
        7    A.     Yes, yes.
        8    Q.     And fair to assume that by extension the service
        9           corporations are also insolvent, too?


   Designation:
    81:12    A.     I don't know if that's true or not.


   Designation:
    81:14    Q.     Now, isn't it true that the composition of the service
       15           corporations' boards of directors includes three City
       16           officers and at least one City Council member?



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       17      A.   Yes. I think I said before there are City employees
       18           and City representatives on the boards.
       19      Q.   And in fact the person who signed the forbearance
       20           agreement on behalf of the service corporations was
       21           the president of both service corporations, correct?
       22      A.   Yes, I believe so.
       23      Q.   And her name is Cheryl Johnson, right?
       24      A.   Yes.
       25      Q.   And she is also the City's finance director, correct?
    82: 1      A.   Yes.
        2      Q.   Okay. Portia Roberson --
        3      A.   Um-hm.
        4      Q.   -- is the City's corporation counsel, right?
        5      A.   Yes.
        6      Q.   And she's also on the board of both service
        7           corporations, correct?
        8      A.   To the best of my knowledge, that's true.
        9      Q.   Do you know who made the decision at the service
       10           corporations to enter into the forbearance agreement?
       11      A.   I do not.
       12      Q.   Did you have any conversations with either Ms. Johnson
       13           or Ms. Roberson about the service corporations
       14           entering into the forbearance agreement?
       15      A.   No.
       16      Q.   Isn't it true that the policy of the City is to
       17           indemnify the service corporation directors for
       18           actions they take in their capacity as City employees?
       19      A.   I don't know that.
       20      Q.   You don't know if that's the policy of the City?
       21      A.   I do not. I know the City has an indemnification
       22           policy. I don't know if it applies to the service
       23           corporations.
       24      Q.   Okay, but does it apply to the City employees?
       25      A.   It applies to City employees acting within their
    83: 1           course and scope of their employment as employees of
        2           the City.
        3      Q.   Okay. So as you sit here today, you can't say that
        4           that indemnification policy would extend to City
        5           employee actions taken in their capacity as service
        6           corporations --
        7      A.   Correct.


   Designation:
    83:13    Q.     As emergency financial manager, you control the salary
       14           of all City employees; isn't that correct?
       15    A.     As emergency manager.
       16    Q.     As emergency manager, right.
       17    A.     Right.

   Designation:
    84: 3    Q.     Okay. And you have the power to reduce those City
        4           employee salaries to zero if you choose, correct?
        5    A.     I think I do, yes.
        6    Q.     And you have done that on at least one prior occasion,
        7           I believe, correct?


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        8      A.   Yes, I did do that.


   Designation:
    85: 8    Q.   Okay. But if I ask you to express the City's view on
        9         the legal merits of the insurers' contention that they
       10         have the right to consent, you'll decline to answer
       11         those questions because it tends to reveal the
       12         attorney-client privilege.
       13                    MR. SHUMAKER: That's right and also calls
       14         for a legal conclusion, yes.
       15                    MR. HACKNEY: But you'll -- I want to save
       16         a big string of questions, so if I want to ask him
       17         what are the pros and cons of the argument, who's
       18         likely to win, how will it all come out --
       19    BY MR. HACKNEY:
       20    Q.   You won't answer those questions on the grounds of
       21         the -- because it would tend to reveal attorney-client
       22         advice, correct?
       23                    MR. SHUMAKER: Well, I don't want to
       24         prevent you from asking any questions and I don't --
       25         but if he has an understanding independent of advice
    86: 1         he's given -- but clearly to the extent it's going to
        2         reveal attorney-client communication, I will tell him
        3         not to answer.
        4                    MR. HACKNEY: Okay. I'll ask him that.
        5    BY MR. HACKNEY:
        6    Q.   Does the City concur in the insurers' view?
        7                    MR. SHUMAKER: Objection, calls for a legal
        8         conclusion and could ask for attorney-client
        9         communications.
       10                    MR. HACKNEY: Are you instructing him not
       11         to answer?
       12                    MR. SHUMAKER: To the extent that the
       13         question goes to that, yes.
       14    A.   Maybe I can help out in this line of questioning.
       15         Any -- I have not acted as an attorney on this job for
       16         the aforementioned reasons, so any opinion that I
       17         would express on behalf of the City in this regard
       18         would be solely as a result of communications with
       19         counsel and discussions.
       20    BY MR. HACKNEY:
       21    Q.   That was my expectation. So if I ask you if the City
       22         concurred, that's going to get into what your lawyer
       23         thinks.
       24    A.   That's exactly right.
       25    Q.   So you -- you will assert the privilege.
    87: 1    A.   I will assert the privilege.
        2    Q.   And if I ask you what are the arguments for and
        3         against this point, you'll assert the privilege.
        4    A.   I will assert the privilege, but I am aware there are
        5         a number of objections that have been filed in the
        6         case that have addressed those issues and none of them
        7         have caused me any surprise.
        8    Q.   If I said that the City -- if I asked you what the
        9         City's view is on -- well, let me take a step back.


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       10                      Do you agree that the insurers can block an
       11           early termination of the Swap, that this would be
       12           important to assessing whether the City was in danger
       13           of owing a termination payment?
       14                      MR. SHUMAKER: Objection, calls for a legal
       15           conclusion.
       16      A.   Yes, same thing. I'd only have a response to that
       17           based upon discussions I've had with counsel.
       18      BY MR. HACKNEY:
       19      Q.   Do you agree that the insurers can block a
       20           termination, that it would make sense to negotiate
       21           with the insurers to determine whether you can secure
       22           their agreement not to consent to any termination?
       24                      MR. SHUMAKER: Same objection.
       25      A.   Same response. It would only be based upon
    88: 1           discussions I've had with counsel.
        2      BY MR. HACKNEY:
        3      Q.   Are you aware that the insurers contend that they have
        4           the right to control all actions that may be taken by
        5           the Swap counterparties in connection with the -- with
        6           the Swaps?
        7      A.   I am aware of that, yes.
        8      Q.   When did you first develop that awareness?
        9      A.   During some course of the correspondence that occurred
       10           during this time frame that we previously discussed
       11           today.
       12      Q.   And have you taken steps to evaluate whether the City
       13           concurs with the insurers' construction of the
       14           operative documents on this point?
       15      A.   Have we taken steps? Yes.
       16      Q.   Yeah. And what is the City's position?
       17                      MR. SHUMAKER: Objection, calls for the
       18           provision of attorney-client communications, and I
       19           will instruct him not to answer.
       20      BY MR. HACKNEY:
       21      Q.   Yeah, I'm just going -- I'm making a record here.
       22           Okay? I don't want to have -- I tried to --
       23      A.   I'm with you. I'm with you.
       24      Q.   And if I ask you what the arguments are on both sides
       25           of this point, you'll also refuse to answer on the
    89: 1           grounds of the privilege.
        2      A.   Here again, there are objections in the case that make
        3           some of those arguments, but I will not specifically
        4           answer.
        5      Q.   Because of the privilege.
        6      A.   Because of the attorney-client privilege and it calls
        7           for a legal conclusion.
        8      Q.   And if I ask you who had the better side of the
        9           argument, you would say the same thing?
       10      A.   Same thing.
       11                      MR. SHUMAKER: Same objection, same
       12           instruction.
       13      A.   I would say the same thing. I would say the same
       14           thing.
       15      BY MR. HACKNEY:
       16      Q.   Do you agree that the insurers can control all actions


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       17           of the Swap counterparties in connection with the
       18           Swaps, that this would be important in terms of
       19           assessing whether the City should negotiate with the
       20           insurers?
       23                      You can answer to the extent you have an
       24           understanding.
       25      A.   It's also a little speculative because it's a
    90: 1           hypothetical. If then is usually a hypothetical, so I
        2           would -- for the same reasons as we discussed before,
        3           I would say that to the extent it calls for a legal
        4           conclusion, I'll refuse to answer.
        5                      I would say as a rational person, if you
        6           were put in a corner, then you might want to consider
        7           your alternatives, including negotiations.
        9      Q.   With the insurers?
       10      A.   With whoever, yes, whoever's --
       11      Q.   I mean it's just a simple point. We have five minutes
       12           left. I'm going to milk them.
       13      A.   Okay.
       14      Q.   But it's a simple point, which is if the insurers can
       15           potentially direct, like a marionette, the actions of
       16           the Swap counterparties, and I understand --
       17      A.   Right.
       18      Q.   -- that you're not agreeing with that --
       19      A.   Right.
       20      Q.   -- okay, but if they can --
       21      A.   Um-hm.
       22      Q.   -- they're a potential party that you can go negotiate
       23           with to play off against the Swap counterparties,
       24           correct?
    91: 2      A.   Yeah, here again, I mean if that happened, possibly,
        3           but that's a speculative question, so I'm going stay
        4           away from it.
        6      Q.   It is speculation, but it's logical --
        7      A.   As I said in my answer, a rational person would make
        8           that --
        9      Q.   Yeah.
       10      A.   If you were put in a corner, you'd have to find some
       11           way out, and negotiation might be one of those
       12           sources, but to the extent your question is also
       13           speculation, I'm going to defer from answering.
       14      Q.   Do you agree that the insurers are entitled to control
       15           all of the actions of the Swap counterparties; it
       16           raises the risk that the deal negotiated in the
       17           forbearance agreement may be for naught?
       20      A.   Yeah, here again, maybe not.
       22      Q.   Those are things you haven't -- you haven't considered
       23           prior to today, fair statement?
       24      A.   That's a fair statement.
       25      Q.   Okay. Have you ever heard the phrase "play both ends
    92: 1           against the middle"?
        2      A.   Oh, have I ever heard the phrase?
        3      Q.   Yes.
        4      A.   Yes.
        5      Q.   You're a bankruptcy lawyer, right?
        6      A.   Yes.


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        7      Q.   You were, I should say.
        8      A.   I was.
        9      Q.   And that's one of the time-honored tricks of
       10           bankruptcy negotiation, right, is to play parties off
       11           against one another to try and get the best deal?
       12      A.   I'm not going to call it a trick.
       13      Q.   Tools.
       14      A.   Tools, tactics. You know, there -- lawyer, as a
       15           negotiator, getting a yes, discussing a number of
       16           different alternatives.
       17      Q.   And one of them is playing off both ends against the
       18           middle?
       19      A.   Could be. People do that all -- outside of legal
       20           issues, they do that in negotiation.
       21      Q.   Isn't it true that prior to July 17 the City never
       22           engaged in substantive negotiations with Syncora?
       23      A.   I don't know if that's true. You said July 17th?
       24      Q.   Yeah. That's the date of the execution of the
       25           forbearance agreement.
    93: 1      A.   Right. I don't know if that's true. I believe there
        2           were discussions that may have been, but you
        3           characterize it as substantive negotiations, so I
        4           don't know if that's true.
        5      Q.   You certainly didn't participate in any substantive
        6           negotiations with Syncora, correct?
        7      A.   Well, I -- you know, you say negotiations. I know
        8           there were a series of letters going back and forth
        9           and I know that there was a letter -- I just don't
       10           recall when I sent it -- to Mr. LeBlanc that said if
       11           you want to have serious negotiations, then let's have
       12           a discussion, but let's stop sending these letters
       13           back and forth.
       14      Q.   But isn't it your position that there were no serious
       15           negotiations with Syncora because Syncora would not
       16           make a proposal?
       17      A.   I believe in one of those letters I expressed that
       18           concern, yes.
       19      Q.   And to your knowledge Syncora never made a proposal to
       20           the City of Detroit prior to July 17th, correct?
       21      A.   Yeah, I believe there was a discussion -- well, there
       22           was discussion about an exchange of NDAs, and Syncora
       23           said they wanted to make a proposal, but they first
       24           wanted to see the proposal from the Swap
       25           counterparties, and I believe in one of my letters to
    94: 1           Mr. LeBlanc, I said well, the parties need to sign a
        2           NDA, and my understanding was Syncora declined to do
        3           that.


   Designation:
    94:17    Q.     Mr. Orr, I kind of want to cut through this with
       18           Syncora. I understand that there were letters back
       19           and forth between you and Syncora.
       20    A.     Yes.
       21    Q.     But I just want to make clear for the record that
       22           there were not substantive negotiations of the type


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       23           that you engaged in with the Swap counterparties with
       24           Syncora about an alternative proposal to the
       25           forbearance agreement prior to its execution on
    95: 1           July 17th, correct?
        2      A.   I believe -- July 17th?
        3      Q.   (Nods head).
        4      A.   I believe that's true. As I said, I think there was
        5           some discussion about a potential offer from Syncora,
        6           but I believe that got caught up in the NDA issue and
        7           that went away, so yes, I believe that's true.
        8      Q.   And your recollection in the NDA issue is that the
        9           City wanted an NDA, but Syncora wouldn't sign it?
       10      A.   My recollection -- no. My recollection was the City
       11           needed an NDA because we were asking all parties --
       12           nondisclosure agreement, we were asking all parties to
       13           sign them. There was some discussion -- I put in a
       14           letter, I seem to recall, that Syncora sign one, but I
       15           don't want to speculate or mischaracterize. There
       16           were some discussion about a NDA before Syncora would
       17           show us their proposal and something about they wanted
       18           to see the Swap counterparties' proposal before
       19           signing an NDA first or something along those lines.
       20      Q.   You're not aware of any situation where the City
       21           refused to sign an NDA with Syncora, correct?
       22      A.   No, not that I'm aware of.
       23      Q.   In fact, it was the City that wanted an NDA with
       24           Syncora?
       25      A.   Yes. I believe that's true.
    96: 1      Q.   And it's also true that you did not engage in
        2           substantive negotiations with FGIC about an
        3           alternative to the forbearance agreement prior to
        4           July 17th, correct?
        5      A.   Yeah, with regard to the issue of substantive, I'll --
        6           I'll, you know, caution that I'm not -- I'm not
        7           necessarily characterizing, but to the best of my
        8           knowledge, that's a fair characterization.
        9      Q.   You didn't make a proposal about an alternative to
       10           FIGC and FIGC didn't make one to you.
       11      A.   Yes, to the best of my knowledge, that's true.
       12      Q.   And that's also true with respect to Syncora, correct?
       13      A.   Yes, that's true.

   Designation:
    97:23    Q.     Okay. It's true, isn't it, that as of the date of the
       24           execution of the forbearance agreement, your office
       25           had received multiple calls from Claude LeBlanc at
    98: 1           Syncora, correct?
        2    A.     I'm not aware of that. There may have been multiple
        3           calls, but I'm not aware -- I received no calls.
        4    Q.     Okay. So you don't -- I take it your secretary --
        5    A.     My office may have. Yeah, my secretary may have, but
        6           I didn't.
        7    Q.     So you don't know whether he called you or not?
        8    A.     If you're representing to me that he did, I have no
        9           reason to believe that that's untrue.
       10    Q.     Okay. And I take it you have never called personally


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       11           Mr. LeBlanc --
       12      A.   No.
       13      Q.   -- isn't that correct?
       14      A.   No, I don't think so.
       15      Q.   So you didn't return those calls if they were made?
       16      A.   No.
       17      Q.   I just want -- I guess I -- the City has entered into
       18           numerous nondisclosure agreements --
       19      A.   Right.
       20      Q.   -- in these cases, correct?
       21      A.   Yes.
       22      Q.   I mean has it entered into hundreds?
       23      A.   I don't know. I don't -- I don't operate the data
       24           room or any others, but I suspect there's certainly
       25           many.
    99: 1      Q.   We can say that there are lots.
        2      A.   There are lots.
        3      Q.   Okay.
        4      A.   Okay.
        5      Q.   And there's no reason you can think of today that the
        6           City wouldn't enter into one with Syncora.
        7      A.   No.
        8      Q.   Were you aware that Syncora wanted a nondisclosure
        9           agreement so that it could make a proposal that would
       10           be an alternative to the Swap counterparties?
       11      A.   As I said, I believe I have a letter that discusses
       12           the NDA issue, but it was caught up in something
       13           related to Syncora -- as I understood it, Syncora
       14           wanting to see the Swap counterparty proposal first
       15           prior to entering an NDA.
       16      Q.   Did you ever hear that Syncora had gotten over that
       17           issue and was now willing to just make a proposal to
       18           the City?
       19      A.   No.
       20      Q.   So no one ever told you that?
       21      A.   No, I don't recall ever hearing that.
       22      Q.   Okay. Would that have been significant to you if you
       23           heard that?


   Designation:
   100: 1    A.     Yeah. Here again, it depends upon what point in time,
        2           if we were already bound by the definitive term sheet
        3           and then -- or the agreement, I believe the
        4           forbearance agreement has an obligation we cooperate
        5           with Swap counterparties, so it wouldn't have mat --
        6           no, it would not have mattered at that time, so it
        7           depends on when that would have occurred.


   Designation:
   100:15    Q.     Isn't it true that the City's decision to enter into
       16           the forbearance agreement was made by you, in your
       17           role as emergency manager?
       18    A.     Yes, after consultation with my -- with my employees,
       19           staff and consultants, yes.


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       20      Q.   And when did you make that decision?
       21      A.   To enter into the actual agreement?
       22      Q.   Yes.
       23      A.   The day I signed it.
       24      Q.   July 15th, 2013?
       25      A.   I believe so, yes.


   Designation:
   102: 7    Q.     Any legal memoranda from Jones Day that you considered
        8           in making this decision?
        9    A.     Yes, probably.
       10    Q.     Okay. Written legal memoranda that you reviewed?
       11    A.     Yeah, including e-mails. Yeah.
       12    Q.     Now, did you take time to familiarize -- to
       13           familiarize yourself with any of the legal documents
       14           relating to the COPs Swap structure in connection with
       15           your decision to execute the forbearance agreement?
       16    A.     I relied -- I may have seen them, but I relied upon
       17           consultation with my counsel and investment bankers.
       18    Q.     The documents I'm referring to are -- can we agree
       19           they're relatively complicated legal documents?
       20    A.     Yeah, I'd say they're not simple documents. It's not
       21           a -- you know, an auto purchase contract, yeah.
       22    Q.     Right. So can I fairly characterize that -- that you
       23           may have looked at the documents, but you didn't
       24           attempt to master -- master them in terms of their
       25           legal ins and outs?
   103: 1    A.     Yeah. That's a --


   Designation:
   103: 3    A.     That's a fair characterization. As I said, I'm trying
        4           to stay away from acting as an attorney in this job.


   Designation:
   103: 8    Q.     So you relied on your advisors to explain to you how
        9           the COP Swap agreements worked?
       10    A.     Yes.
       11    Q.     And you also relied on them to explain to you how the
       12           COP Swap agreements worked in conjunction with the
       13           forbearance agreement that you were about to execute?


   Designation:
   103:15    A.     Yes.


   Designation:
   103:17    Q.     So what is the relationship between the forbearance
       18           agreement and the COPs Swap structure?
       19    A.     Well, my understanding is that the forbearance
       20           agreement is related to the Swaps structure, but that
       21           the COPs structure is unrelated.



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       22      Q.   Okay. So the forbearance agreement is part of the
       23           same subject matter as the collateral agreement and
       24           the Swaps agreement, but not the COPs part of the
       25           structure?
   104: 1      A.   That's my understanding.
        2      Q.   Okay. In your legal career, have you come across the
        3           concept of the idea that two different contracts can
        4           be part of one integrated transaction?
        5      A.   Sure. Yes.
        6      Q.   You're familiar with that as an idea?
        7      A.   Oh, yeah, sure.
        8      Q.   Okay. What do you understand that to mean?


   Designation:
   104:10    A.     There are a number of ways that two different
       11           documents were -- may refer to the other, as simple as
       12           attachments, exhibits, the master -- the master
       13           service agreement on a loan, for instance. There are
       14           a number of ways that one document can relate to
       15           another as explicitly expressed and intended.


   Designation:
   104:23    Q.     You understand the idea that two different contracts
       24           can form part of one larger agreement?
       25    A.     Oh, sure. Yeah.
   105: 1    Q.     Is the forbearance agreement part of an integrated
        2           transaction with the amended Swap agreements?

   Designation:
   105: 5    A.     Yeah, I'm going to stay away from characterizing it as
        6           an integrated transaction. That may have legal
        7           consequence. I know they are related.


   Designation:
   106:23    Q.     So I guess are you saying that you can't reveal
       24           attorney-client communications or are you saying that
       25           you just don't know the answer to this particular
   107: 1           legal question?
        2    A.     I'm saying I can't reveal attorney-client
        3           communications, and based upon the characterization, I
        4           have formed no independent decision outside of
        5           discussions with my attorney as to whether or not
        6           they're integrated.


   Designation:
   107:24    Q.     Isn't it -- I'd like to shift and ask you a question
       25           about the service agreements between the City and the
   108: 1           service corporations.
        2    A.     Okay.
        3    Q.     Isn't it true that the City is in default of its
        4           obligations under the service agreements because it



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        5           missed the --
        6      A.   June 14th payment?
        7      Q.   That's right.
        8      A.   We're in default.
        9      Q.   Okay. And isn't it also true that the City is not
       10           proposing to cure those defaults in connection with
       11           the assumption of the forbearance agreement?
       12      A.   I believe that's true.
       13      Q.   And you would agree that the City is not going to
       14           provide assurances that it will perform with the
       15           service agreements in the future, correct, as part of
       16           the assumption motion?
       17      A.   I'm going to be careful here because we're -- we're
       18           trying to have discussions about what we're going to
       19           do with regard to the proposal, so I don't want to say
       20           now something that may or may not occur in the future,
       21           but there is no present intent -- in response to your
       22           question, no present intent to do that.
       23      Q.   You certainly haven't represented that you will as
       24           part of the assumption motion?
       25      A.   Yes.
   109: 1      Q.   We talked about this earlier. I don't want to reask
        2           the question, but I want to tie it up in connection
        3           with the assumption motion, which is, there are also
        4           events of default existing under the Swaps.
        5      A.   Yes.
        6      Q.   Those are the cause of all the problems, right?
        7      A.   Yes.
        8      Q.   The City is not proposing to cure those defaults in
        9           connection with the assumption agreement, correct?
       10      A.   I'm going to be careful with the characterization of a
       11           cure because, as you know, and -- I have formed no
       12           independent decision as to whether or not that
       13           nomenclature's true. What I will say is that pursuant
       14           to the forbearance agreement we are attempting to
       15           resolve any and all defaults that may have occurred
       16           under the collateral agreement.
       17      Q.   Under -- and I was asking about the Swaps.
       18      A.   And the Swaps.
       19      Q.   And the Swaps.
       20                      So the forbearance agreement is an effort
       21           to resolve any defaults that exist under the
       22           collateral agreement and amended Swaps?
       23      A.   Yes.
       24      Q.   Okay. And in your view it does that?
       25      A.   Yes.
   110: 1      Q.   Okay.
        2      A.   Yes.
        3      Q.   So I'll say it this way. In your assumption motion,
        4           isn't it true the City doesn't promise to cure any
        5           defaults under the collateral agreement or the Swap
        6           agreement; isn't it that correct?
        7      A.   Here again, and I'm not trying to be evasive. I
        8           just -- you know, there are concepts of cure in the
        9           bankruptcy code, for instance, with regard to the
       10           assumptions of contracts so on and so forth, and I


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       11            want to make sure that I don't testify as to a legal
       12            conclusion. So what I will say is we are trying -- by
       13            the assumption agreement and forbearance agreement, we
       14            are trying to resolve all defaults under those
       15            documents, both the collateral agreement and the
       16            Swaps.
       17      Q.    Okay. And how does it achieve that resolution?
       18      A.    Well, the documents speaks for itself, but generally
       19            speaking, it imposes obligations upon us to perform a
       20            certain ways within certain time frames with regard to
       21            the potential termination payment. It therefore gives
       22            us a discount for that payment. It releases the
       23            casino revenue and imposes obligations, and this is my
       24            language, upon the Swap counterparties not to trap
       25            that revenue upon performance of certain obligations,
   111: 1            in addition, obligates those parties to release liens
        2            and potential claims as a result of the transaction.

   Designation:
   114:21    Q.      So let me go back. I guess my question is, like, do
       22            you have a view on whether that big time cash trapping
       23            is supposed to happen automatically under the
       24            collateral agreement?
       25    A.      My understanding is that it does not happen
   115: 1            automatically.
        2    Q.      Okay. And is that based on conversations you've had
        3            with counsel?
        4    A.      Yes.
        5    Q.      And if I ask you for the pros and cons of that
        6            argument as to who's likely to win and how the City
        7            came to its view, you would refuse to answer those
        8            questions on the basis of the attorney-client
        9            privilege, correct?
       10    A.      Yes, sir.


   Designation:
   116: 4    Q.      The discount that you obtained through the
        5            negotiations that Mr. Buckfire led --
        6    A.      Right.
        7    Q.      -- is a discount to the so-called early termination of
        8            the Swap.
        9    A.      Yes.
       10    Q.      Correct?
       11    A.      Yes.
       12    Q.      So if you just read the Swap agreement, it would -- it
       13            implies a termination value, correct?

   Designation:
   116:17    Q.      It implies an early termination value?
       19    A.      We'll use a nomenclature. It implies a value for
       20            termination fee that I understand represents the loss
       21            expectation of the counterparties.


   Designation:


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   116:23      Q.   That's exactly right.
       24                      And the discount you negotiated in the
       25           forbearance agreement is a discount to that amount in
   117: 1           the Swap?


   Designation:
   117: 4    A.     It is a discount to that, yes.     It is a discount to
        5           that expected amount.


   Designation:
   117: 7    Q.     Yeah. It is a discount to what would otherwise be
        8           owing under the Swap in the absence of the forbearance
        9           agreement if the Swap counterparties designated an
       10           early termination.
       11    A.     I believe that's correct.


   Designation:
   117:14    Q.     Okay. Now, you know that there's a different concept
       15           which is an optional early termination under the Swap,
       16           correct?
       17    A.     Um-hm.


   Designation:
   118: 2    Q.     Under the Swap --
        3    A.     Right.
        4    Q.     -- there is a different type of termination that's
        5           called an optional early termination. Are you aware
        6           of that?
        7    A.     I am aware of that.
        8    Q.     Okay. That's one where the insured -- the Swap
        9           counterparties contend that they can terminate the
       10           Swap and walk away with no payment.
       11    A.     Any understanding I would have about what the Swap
       12           counterparties can do would be based upon
       13           consultations with counsel, but suffice it to say I
       14           have heard of that concept.
       15    Q.     Okay. So if I ask you about the pros and cons of that
       16           argument and who would likely to win, you would assert
       17           the attorney-client privilege; is that correct?
       18                      MR. SHUMAKER: We would.
       19    A.     Yes.


   Designation:
   118:21    Q.     Okay. But I do want to say that you understand that
       22           the Swap counterparties are substantially in the money
       23           under prevailing interest rates, correct?
       24    A.     There is a lot of money that the City's going to owe,
       25           yes.




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   Designation:
   119: 9    Q.   Yeah. So what I mean is if the Swap was terminated
       10         today --
       11    A.   Right.
       12    Q.   -- it's the service corporations that would owe money
       13         to the Swap counterparties, not the Swap
       14         counterparties that would owe money to the service
       15         corporations.


   Designation:
   119:19    A.   Yeah.


   Designation:
   119:21    Q.   That's what I mean by in the money.
       22    A.   Yeah, I -- I think that's true.
       23    Q.   Okay. I mean that's -- I'm not trying to be flip, but
       24         that is the reason that you negotiated the discount?
       25    A.   That's the mechanism, yes. Yeah.
   120: 1    Q.   Okay. I want to make an obvious point, which is the
        2         Swap counterparties have never come to the City and
        3         said hey, we're going to exercise that optional early
        4         termination rights that has us walking away and being
        5         paid nothing, correct?


   Designation:
   120: 8    A.   To the best of my knowledge, I've never heard that.


   Designation:
   120:13    Q.   Let me -- if you had heard them threaten that, it
       14         would have made Mr. Buckfire's negotiation a lot
       15         easier.
       16    A.   I think it would have made the entire situation a lot
       17         easier, but I've never heard that.
       18    Q.   They've never offered to walk away without any
       19         payment.
       20    A.   I've never heard them offer to walk away without a
       21         payment.
       22    Q.   Okay. Too bad.
       23    A.   I'm more than willing to accept that offer.
       24    Q.   I was going to say we're all open, right?
       25    A.   Right.
   121: 1    Q.   I want to go back to the forbearance agreement. We
        2         were talking about the things that it does in terms of
        3         providing access to casino revenues, allowing for an
        4         unwind of the Swap. These were my descriptions of
        5         it --
        6    A.   Right.
        7    Q.   -- candidly, from your motion --
        8    A.   Right.
        9    Q.   -- but we were talking generally about these things.
       10         The valuable consideration that the City gets under



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       11           the forbearance agreement are all things that it can
       12           exercise without any consent from any other party,
       13           correct?
       17      A.   That's my understanding of the way it works, yeah.
       19      Q.   Do you agree that the effect of the forbearance
       20           agreement, if the option is exercised, is to modify
       21           the amount of the termination payment owed under the
       22           Swaps down to whatever percentage is applicable as of
       23           that date?
   122: 2      A.   If you're talking about the forbearance agreement and
        3           the formula that's involved for the percentage change
        4           depending upon -- as linked to time, as well as the
        5           requirement that we get approval of the agreement at a
        6           certain time period, yes, that's true.
        8      Q.   Okay. I mean the effect of the forbearance agreement
        9           is that instead of owing what the City would owe under
       10           the Swap, which is the hundred percent of the
       11           termination value, it now owes -- only owes the
       12           discounted amount?
       13      A.   Yes.
       14      Q.   So the effect is that it modifies that provision in
       15           the Swap in a way that's favorable for the City?
       17      A.   That's a fair characterization.
       20      Q.   Now, the forbearance agreement, another part of it,
       21           that it allows the City to direct the Swap
       22           counterparties to terminate the Swap, correct?
   123: 4      A.   Yeah, the --
        8      A.   Yeah, the mechanism is such that it's not our
        9           termination, that it's the parties -- it's the
       10           counterparties' termination.
       12      Q.   That's right. It's their termination right, but the
       13           City gets to direct them to exercise it.
       14      A.   Correct.
       15      Q.   Okay. Is that a right that the City currently
       16           possesses under any of the other agreements to the
       17           best of your knowledge?
       18      A.   To the best of my knowledge, no.
       19      Q.   That's a right it obtained as a result of the
       20           forbearance agreement, correct?
       21      A.   Correct.
       22      Q.   And the City's able to exercise that right to direct
       23           the actions of the Swap counterparties without the
       24           consent of any third party, correct?
       25      A.   To the best of my knowledge, that's true.


   Designation:
   125:14    Q.     Okay. So -- but you -- you can't give me your
       15           understanding of how Syncora's alleged rights under
       16           the contract administration agreement interact with
       17           the City's alleged rights under the forbearance
       18           agreement.
       19    A.     I can't do that without implicating conversations I've
       20           had with my counsel.
       21    Q.     And just for the record, you won't?
       22    A.     And I won't.


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       23      Q.   That's right.
       24      A.   And I won't, yes.


   Designation:
   126:18    Q.     I want to go back to the subject of cash trapping
       19           really quick because we had just moments ago talked
       20           about whether it worked automatically --
       21    A.     Right.
       22    Q.     -- or whether it worked upon notice.
       23    A.     Right.
       24    Q.     But prior to the forbearance agreement, it was your
       25           view that the Swap counterparties had the right to
   127: 1           direct U.S. Bank to trap the casino revenues; isn't
        2           that correct?
        3    A.     I think if there were events of default, and here they
        4           are, yes.
        5    Q.     Yeah. That was a driver of the negotiation --
        6    A.     Yes.
        7    Q.     -- correct?
        8    A.     Certainly is, yes.
        9    Q.     And your understanding is that as part of the
       10           forbearance agreement during the -- during the --
       11           during the forbearance period, the Swap counterparties
       12           have temporarily relinquished that right to direct
       13           cash trapping so long as the optional termination
       14           period is pending.
       15    A.     Yes, they are forebearing from exercising their right.
       16    Q.     Okay. Now, you understand that cash passes through
       17           the general receipts subaccount on a monthly basis.
       18           We talked about that earlier.
       19    A.     Right.
       20    Q.     It's trapped until a certain point and then the City
       21           makes the holdback account, and when they get --
       22           become equal, there's a discharge of payment to the
       23           City from the general receipts subaccount, and then
       24           for the remainder of the month, the City gets access
       25           to the casino revenues, correct?
   128: 1    A.     Yes. My understanding is about $500,000 a day are
        2           paid into those accounts and the mechanism is very
        3           similar to what you said --
        4    Q.     Okay.
        5    A.     -- how it operates.
        6    Q.     Can we agree that the way the forbearance agreement
        7           works is that certainly between July 17th and now and
        8           from now to whenever the forbearance, the option is
        9           either exercised or expires, there's going to be cash
       10           that passes through this account, already passed
       11           through the account, that goes to the City?
       12    A.     Yes. There should be.
       13    Q.     If the option expires without the City's exercise of
       14           the option, isn't it true that under the forbearance
       15           agreement, the City has no obligation to put that cash
       16           back into the -- into the general receipts subaccount?
       19    A.     I --
       21    Q.     Just asking for your understanding of how the


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       22           agreement works.
       23      A.   Sure. And my understanding of how the agreement
       24           works, without having it in front of me and consulting
       25           counsel, is the parties revert back to the status quo
   129: 1           ante as where they were, and I do not recall that
        2           there's an obligation for remittor (sic) --
        3      Q.   Yeah.
        4      A.   -- of monies that were paid during the forbearance
        5           period.
        6      Q.   And the agreement does speak for itself. I'm just
        7           asking for your understanding of the agreement.
        8      A.   That's my understanding.
        9      Q.   I have read the agreement, and my reading of
       10           Section 1.2(c) of the agreement is that when the
       11           option expires without being exercised, that it's just
       12           as you said, everyone is restored to the status quo
       13           ante, but the City doesn't have to put the money it
       14           received back in the -- in the interim back into the
       15           account.
       16      A.   Right, which is status quo because we would have
       17           received that money in any event.
       18      Q.   Okay. But what I just said is also your
       19           understanding?
       20      A.   Yes.


   Designation:
   130: 8    Q.   Let me hand you this forbearance agreement.
        9    A.   Okay.
       10    Q.   I've marked it as Orr Exhibit 2.
       11    A.   Okay.
       12                    MARKED FOR IDENTIFICATION:
       13                    DEPOSITION EXHIBIT 2
       14                    10:48 a.m.
       15    A.   Okay.
       16    BY MR. HACKNEY:
       17    Q.   Do you have it in front of you?
       18    A.   Yes.
       19    Q.   And is that, to the best of your knowledge, a true and
       20         accurate copy of the forbearance agreement?
       21    A.   Yes, it appears to be.
       22    Q.   Now, if you look at the -- on page 2 of the second
       23         full recital?
       24    A.   Uh-hm.
       25    Q.   You'll see that it says, "Whereas, pursuant to the
   131: 1         terms of each Swap agreement, it is the view of the
        2         Swap counterparties that one or more events of default
        3         and/or additional termination events has occurred,
        4         with the service corporations" -- "with the service
        5         corporation as the defaulting party or sole affected
        6         party, and therefore each of SBS and UBS has the right
        7         to designate an early termination date for the related
        8         Swap agreements."
        9                    Do you see that?
       10    A.   Yes, I do.
       11    Q.   I have a long set of questions here that I would like


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       12           to collapse if I could, which is, this just says it's
       13           the view of the Swap counterparties. The fact of the
       14           matter is it's also the City's view that there are
       15           termination events and events of default existing
       16           under the Swap.
       17      A.   Yes, I think that's fair.
       18      Q.   And that as a result of those termination and events
       19           of default in the absence of this agreement, the Swap
       20           counterparties would have the right to designate an
       21           early termination date.
       22      A.   Yes.
       23      Q.   If I asked you to catalog all of the termination
       24           events and events of default under the Swap, would you
       25           be able to do that?
   132: 1      A.   No, I wouldn't, not without a consulting client and a
        2           long compendium of events that occurred before I was
        3           appointed.
        4      Q.   You do know some of them offhand.
        5      A.   Sure, like the consent agreement, the declaration of
        6           financial emergency, the appointment of the financial
        7           advisory board, the failure to make some of the --
        8           there are a bunch of them, but I couldn't catalog them
        9           all.
       10      Q.   Yeah. Your appointment?
       11      A.   My appointment. I'm an event of default.
       12      Q.   You are -- you are an embodiment of default.
       13      A.   I'm an embodiment of default.
       14      Q.   So at some point we will have to cure you.
       15      A.   You will have to talk to my wife about that.
       16      Q.   Okay. The -- okay. So that is helpful. I was going
       17           to go through some of these things, but it doesn't
       18           sound like there's an actual dispute between the City
       19           and the Swap counterparties on this point, correct?
       20      A.   No.

   Designation:
   134: 4    Q.   Is it fair to say that if I ask you to describe to me
        5         what potential events of default or termination events
        6         where the Swap counterparties were the sole affected
        7         party or the defaulting party --
        8    A.   Right.
        9    Q.   -- you would decline to answer those questions on the
       10         basis of the attorney-client privilege?
       11                    MR. SHUMAKER: To the extent they would
       12         reveal those communications, of course.
       13                    MR. HACKNEY: Well, I mean --
       14    A.   Yes, I would.
       15    BY MR. HACKNEY:
       16    Q.   Okay. Even if I ask you about your understanding of
       17         the position, your position is that you don't have one
       18         independent of your legal advisors.
       19    A.   I -- on this question, I don't have one independent of
       20         my legal advisors.
       21    Q.   So I can't ask you what your understanding is --
       22    A.   Right.
       23    Q.   -- because it will necessarily reveal the legal advice


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       24           you got.
       25      A.   I'm trying to see if there's a way I can answer your
   135: 1           question without implicating discussions. No. It
        2           might -- it might implicate some discussions I had
        3           with counsel.
        4      Q.   Okay. Mr. Orr, is the forbearance agreement a
        5           settlement?
        8      A.   Let me say this. I'm aware that the motion pending in
        9           front of the Court is both for -- we call in
       10           bankruptcy, what I used to call in bankruptcy, both an
       11           assumption of an agreement and a ^ 9019 settlement.
       13      Q.   So it's been held out by the City as a settlement,
       14           correct?
       15      A.   Yeah. I think there's a debate as to whether or not
       16           you need to seek settlement approval in a Chapter 9
       17           case, but we are.
       18      Q.   Okay. Does the forbearance agreement settle any
       19           claims on a final basis?
       20      A.   I think it does.
       21      Q.   Isn't it true, though, that if the City doesn't
       22           exercise the option, everyone goes back to the status
       23           quo ante?
       24      A.   Yes. That's the contingency, yes.
       25      Q.   Okay. So if that were to happen, everyone's claims
   136: 1           would still be in play.
        2      A.   I'm going to be careful with the word claims, but
        3           everyone would revert back to the status quo ante.
        4      Q.   Okay. So whatever claims they had at the status quo
        5           ante they'd have again?
        6      A.   Yeah, whatever claims -- technically, whatever claims,
        7           colloquially, whatever they had would, revert back to
        8           the status quo ante.
        9      Q.   Can we agree that in that eventuality no claims of any
       10           of the parties of the forbearance agreement would have
       11           been finally resolved by the forbearance agreement?
       12      A.   To the best of my knowledge, yes.
       13      Q.   Now, put aside the threat of declaring an early
       14           termination under the Swap --
       15      A.   Right.
       16      Q.   -- which we've discussed extensively today as a right
       17           the Swap counterparties have under the Swap --
       18      A.   Okay.
       19      Q.   -- put that aside. Have you evaluated, separate and
       20           apart from that, whether there are other tort or
       21           contract claims that the Swap counterparties may have
       22           against the City?
       23      A.   I think there were discussions, but, here again, those
       24           would be wrapped up in attorney-client communications.
       25      Q.   So if I asked you to reveal the assessment of whether
   137: 1           there were other claims that the Swap counterparties
        2           have against the City, you would decline to answer
        3           those questions on the grounds of attorney-client
        4           privilege?
        5      A.   I think I would have to. I do recall discussions, but
        6           I think I'd have to decline on the basis of
        7           attorney-client privilege.


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        8      Q.   Have the Swap counterparties threatened to bring any
        9           claims against the City?
       10      A.   Well, here again, being careful with the word claims,
       11           you mean unrelated to the defaults such as tort
       12           claims?
       13      Q.   I guess I would say the Swap agreement is one you
       14           understand that's between the Swap counterparties and
       15           the service corporations.
       16      A.   Right.
       17      Q.   Okay. So I'm trying to put that in a box for now.
       18      A.   Right.
       19      Q.   And we've talked about that extensively.
       20      A.   Right.
       21      Q.   So other than any claims they may have against the
       22           service corporations --
       23      A.   Right.
       24      Q.   -- that could absolutely have implications for the
       25           City, but other than that, have the Swap
   138: 1           counterparties threatened to bring any other claims
        2           directly against the City?
        3      A.   None that I'm aware of.
        4      Q.   I may have asked you this earlier, but I just -- I
        5           want to make sure that I didn't miss it and so if it's
        6           asked and answered I apologize, but did the City
        7           evaluate whether it is in breach of the collateral
        8           agreement?
        9      A.   Did we evaluate it?
       10      Q.   Yeah.
       11      A.   Yes, I and my consultants evaluated it.
       12      Q.   Is this one where if I asked you the results of those
       13           evaluations you'd decline to answer?
       14      A.   Yes.

   Designation:
   138:20    Q.     Now, have the service corporations threatened to bring
       21           any claims against the City?
       22    A.     None that I'm aware of.
       23    Q.     And have you undertaken an assessment of the
       24           likelihood of the service corporations to the extent
       25           they were to assert claims against the City?
   139: 1    A.     No. I don't recall doing that.
        2    Q.     So you haven't assessed that?
        3    A.     Not me independently, no.
        4    Q.     Okay. And it's not something you took into account as
        5           part of this agreement?
        6    A.     No. We -- there was a discussion about the interest
        7           of all the parties. I, independently, did not
        8           handicap whether the service corporations might bring
        9           a claim against the City. I think there were
       10           discussions about it. Many of those discussions would
       11           have been caught up in the general discussions that I
       12           was having with counsel and my other advisors.
       13    Q.     And you wouldn't be able to discuss them?
       14    A.     No.
       15    Q.     But the service corporations' claims against the City,
       16           those are not resolved by the forbearance agreement,


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       17           correct?
       18      A.   If they have any. I don't think they are.
       19      Q.   Let me cut to it. Is it fair to say you haven't given
       20           this any real consideration?
       21      A.   Yeah. We -- it is fair to say that it was -- there
       22           was no real deep consideration of it. We did consider
       23           it.
       24      Q.   Now, as the City evaluated whether it has claims
       25           against the Swap counterparties --
   140: 1      A.   Um-hm.
        2      Q.   -- okay?
        3      A.   Um-hm.
        4      Q.   And if I ask you to tell me what claims you have, will
        5           you tell me them or will you assert the privilege?
        6                      MR. SHUMAKER: I would instruct the witness
        7           that may implicate attorney-client communications.
        8      A.   I would have no independent knowledge of what claims
        9           may have other than discussions I've had with counsel
       10           so I wouldn't answer.
       11      BY MR. HACKNEY:
       12      Q.   Okay. If I ask you what's the likelihood that you'll
       13           win on the claims?
       14      A.   Same answer.
       15      Q.   You would follow the advice --
       16      A.   Yeah.
       17      Q.   -- and assert the privilege?
       18      A.   Yeah.


   Designation:
   140:24    Q.     Well, let me ask you -- let me ask you just a -- sort
       25           of this is your understanding of the forbearance
   141: 1           agreement.
        2    A.     Right.
        3    Q.     What claims are you asking the Court to approve the
        4           settlement of?
        5    A.     In claims that might be had by the parties vis-à-vis
        6           each other.
        7    Q.     So any and all claims that they have under the Swaps
        8           or the collateral agreement or the service contracts
        9           or any other contracts --
       10    A.     Yes.
       11    Q.     -- those claims are being resolved by the forbearance
       12           agreement?
       13    A.     To the best of my knowledge, that is true.
       14    Q.     Okay. And the result of the forbearance agreement is
       15           that the City will be able to perform under the
       16           forbearance agreement without being subject to any
       17           liability to any third party?
       18    A.     That is my understanding.
       19    Q.     And so will the Swap counterparties, correct?
       20    A.     That is my understanding.
       21    Q.     It will give you what I'll call a clean closing?
       22    A.     As I said earlier this week, it will bring us to
       23           closure and certainty, yes. Earlier today.
       24    Q.     That is also one of the values of this agreement to


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       25           both and you the Swap counterparties, you the City?
   142: 1      A.   Right.
        2      Q.   Which is that it absolves you for any liability in
        3           connection with the relevant agreements?
        6      Q.   As a result of performance under the forbearance
        7           agreement, correct?
       10      A.   My understanding is that it provides us with closure
       11           and finality regarding any claims and relationships
       12           that the parties have.
       14      Q.   Okay. And there's no trailing liability?
       15      A.   That is correct.
       16      Q.   And just for the record, if I asked to you assess the
       17           likelihood of success of all of the different claims
       18           that are being resolved by the forbearance agreement,
       19           you would assert the attorney-client privilege and
       20           refuse to answer?
       21      A.   That is correct. I have made no independent
       22           assessment outside of any conversation I would have
       23           had with counsel and my advisors.

   Designation:
   144:10    Q.     But I guess I'm saying are you seriously unaware as to
       11           whether there's a release in the forbearance
       12           agreement?
       13    A.     Seriously or not, I think the forbearance agreement
       14           resolved all claims between the parties. Sitting here
       15           today without examining it, I'm not aware as to
       16           whether or not it specifically has a release.
       17    Q.     Okay. So the -- whether it's in the forbearance
       18           agreement or in the effect of its approval, it
       19           operates as a release for everyone involved?
       20    A.     Yeah. The reality is -- when you asked me the
       21           question before as to whether or not it has a release,
       22           the reality is that to the extent you asked -- I
       23           believe in the motion you asked for assumptions and
       24           9019 settlement that the order might well contain a
       25           release so -- I wasn't trying to be truculent with
   145: 1           you. I'm just saying that, yes, the effect of the
        2           approval of the agreement should have that impact.
        3    Q.     I'm not going to try to go claim by claim because your
        4           understanding is it releases all claims of the Swap
        5           counterparties, the service corporations, and the City
        6           against one another?
        7    A.     Yes.
        8    Q.     Now, the Swap insurers, as part of the forbearance
        9           agreement, they get a release of their insurance
       10           obligations under the Swap in the event the City
       11           directs an optional termination, correct?
       12    A.     Yes, I believe that's true.
       13    Q.     And this was one of the things that the City has
       14           touted, which is to say, hey, Swap insurers, pipe down
       15           this is good for you, right?


   Designation:
   145:17    A.     Yeah, without characterizing, you know, the colloquial


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       18         characterization, yes, we think that's a benefit.


   Designation:
   145:20    Q.   That's a concept that you've argued in your papers --
       21    A.   Yes.
       22    Q.   -- as to why the Swap insurers should be happy?
       23    A.   Yes.
       24    Q.   Now, do you understand you -- you have argued that
       25         this is a benefit to the Swap insurers under the
   146: 1         forbearance agreement, correct?
        2    A.   Yes, I believe so.


   Designation:
   146:24    Q.   Okay. As a layperson person, do you have a view one
       25         way as to whether Syncora is a third party beneficiary
   147: 1         under the agreement?
        2    A.   As a layperson, I really haven't examined it.
        3    Q.   So don't know one way or the other?
        4    A.   Don't know one way or the other.
        5    Q.   Do you have a view as to whether Syncora or FGIC, for
        6         that matter, can sue to enforce the agreement?
        7    A.   I don't have one way or the other.
        8    Q.   They may have, they may not have?
        9    A.   Yeah. I'd probably weigh on the side of they don't,
       10         but I -- I don't have a view one way or the other.
       11    Q.   And have you considered the possibility that if they
       12         don't have the right to sue to enforce the agreement,
       13         that they also would not have the right to sue to
       14         enforce the release that's in the agreement?


   Designation:
   147:16    A.   They might or they might --


   Designation:
   147:19    A.   They might or they might not.


   Designation:
   148: 8    Q.   And so if the insurer can't enforce the agreement to
        9         take advantage of the release, that's the insurer's
       10         problem, correct?
       11    A.   Well, without characterizing whether or not it's their
       12         problem or so, my fiduciary duty runs to the City in
       13         its interest; it does not necessarily run to Syncora.
       14    Q.   Yeah. Can we agree that you certainly didn't
       15         negotiate into the agreement any specific provision
       16         granting the insurers the right to sue to enforce that
       17         provision?
       18    A.   I made no instruction to my team to negotiate such a
       19         provision.




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   Designation:
   151: 6    Q.   If I ask you about the specifics of the conversations
        7         you had about whether the automatic stay applied and
        8         the likelihood that it would or wouldn't, you'll
        9         decline to answer those questions on the basis of the
       10         attorney-client privilege, correct?
       11    A.   Yes, again, today I would have to do that.


   Designation:
   153:14    Q.   Your counsel rendered advice to you about the
       15         likelihood, the pros and cons of the arguments, and
       16         you're not at liberty to provide that advice to us
       17         because it would invade the attorney-client privilege?
       18    A.   Yes, I believe that's correct.


   Designation:
   154:18    Q.   If the automatic stay applied, it might get access to
       19         the casino revenue during the whole bankruptcy,
       20         correct?
       21    A.   It might.
       22    Q.   Yeah. We're talking about different things that you
       23         consider as you're analyzing your options, right?
       24    A.   Yeah, correct.
       25    Q.   And this is -- this is a potentially important one
   155: 1         because you might be able to get longer access to cash
        2         from the automatic stay than you were getting from the
        3         forbearance agreement, correct?
        4    A.   Here again, that's a contingent it might, but that has
        5         to be drawn up also in discussion of potential risk
        6         that Safe Harbor provision would allow the
        7         counterparties to exercise their rights and therefore
        8         obviate any benefits the City could receive from the
        9         automatic stay.


   Designation:
   155:12    Q.   So just to be clear, if I ask you about the specific
       13         ins and outs of all those potential arguments,
       14         likelihoods of success and so forth, you will not
       15         answer those questions on the basis of the
       16         attorney-client privilege, correct?
       17    A.   That is correct.
       18    Q.   Oh, I know. The City recently argued in court against
       19         yours truly that the automatic stay bars the cash
       20         trapping provisions of the collateral agreement. Are
       21         you aware of that?
       22    A.   I believe I am, yes.


   Designation:
   156: 3    Q.   Did the Swap counterparties give their consent to the
        4         City to make those arguments in court?
        5    A.   I don't know.



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        6      Q.   And -- so you don't know whether they did or they
        7           didn't?
        8      A.   That is correct.
        9      Q.   You understand that as originally designed the Swaps
       10           were designed to hedge against interest rate risk on
       11           the floating COPs?


   Designation:
   156:15    A.     That is my understanding.


   Designation:
   156:17    Q.     And I can unpack it if you want. I know we get into
       18           the --
       19    A.     That's my understanding.
       20    Q.     Yeah, okay. Let's just do basics of interest rate
       21           risk, which is if the interest rates go above the
       22           hedge rate, then now the Swap counterparties have to
       23           pay the difference to the service corporations so that
       24           they can pay the difference to the floating rate COPs,
       25           correct?

   Designation:
   157: 2    A.     That is my understanding.


   Designation:
   157: 4    Q.     That's how the hedge works.
        5                      Now, interest rates do not favor the City
        6           in the Swaps -- we asked that earlier.
        7    A.     Right.


   Designation:
   157: 9                      But more basics of interest rate hedging,
       10           so as the interest rates go up and start to approach
       11           the hedge, the amount the City owes under the Swap via
       12           service corporations goes down?
       13    A.     That -- that is my understanding.
       14    Q.     And as it crosses over the hedge line, the service
       15           corporation could actually be in the money?


   Designation:
   157:17    A.     Yeah, here again, we had the discussion about in the
       18           money or not, but to the extent your point is saying
       19           that they would benefit more from the hedge than the
       20           counterparties would, that is my understanding.


   Designation:
   157:22    Q.     When the interest rates get above the hedge line?
       23    A.     (Nods head).




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   Designation:
   158: 5    Q.   When you entered into the forbearance agreement on
        6         July 15th --
        7    A.   Right.
        8    Q.   -- what steps did you take prior to that time to
        9         evaluate future interest rate moves?
       10    A.   Any discussions in those -- that regard would have
       11         been with our investment bankers and generally with
       12         our attorneys. What I'm trying to think of is were
       13         there any discussions that I had with Miller Buckfire
       14         which would not have been confidential in that regard.
       15         I don't think that there were. What I can say is that
       16         we evaluated the potentiality of the -- of the
       17         interest rate fluctuation as indexed to LIBOR going up
       18         or down, but I think most of those, if not all of
       19         them, were in communications with one or more of my
       20         attorneys.
       21    Q.   And when you say we evaluated the interest rate
       22         fluctuations, that would have been tasked to Miller
       23         Buckfire to do?
       24    A.   Yes, Miller Buckfire in conjunction with folks from
       25         Jones Day. Yeah, sure.
   159: 1    Q.   Okay. No disrespect to the fine lawyers at Jones Day.
        2         I don't know if I can calculate future interest rates
        3         as a lawyer.
        4                    It was in Miller Buckfire's province to do
        5         it. They may have done it in conjunction with Jones
        6         Day?
        7    A.   Yes, yes.
        8    Q.   Okay. And any review of forward curves or different
        9         interest rate implications currently existing in the
       10         market would have been done by Miller Buckfire?
       11    A.   Yes.
       12    Q.   And your recollection is that it was done and it was
       13         something that you considered as part of the decision
       14         entering into this agreement?
       15    A.   I believe so.
       16    Q.   You're aware, for example, that the Federal Reserve
       17         has indicated intent to scale back its monthly bond
       18         purchases?
       19    A.   I heard that.
       20    Q.   And --
       21    A.   Quantitative reasoning --
       22    Q.   Yeah.
       23    A.   Yeah.
       24    Q.   And you're aware that many people believe that that
       25         may lead interest rates to rise; isn't that right?
   160: 1    A.   Yes.
        2    Q.   Okay. Did you analyze the likelihood that the
        3         interest rates would rise or was that also tasked to
        4         Miller Buckfire?
        5    A.   I didn't do it independently. That would have been
        6         tasked to Miller Buckfire.
        7    Q.   And if I asked what that analysis showed, I would have
        8         to ask Mr. Buckfire that?


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        9      A.   Yes, you would.
       10      Q.   Okay.
       11      A.   Yes, you would.
       12      Q.   Let me ask you about -- in the motion to assume the
       13           forbearance agreement, the City states that it has
       14           examined whether there are viable actions to challenge
       15           the Swap contracts. Do you recall that?
       16      A.   Yes.
       17      Q.   Under what theory could the City challenge the
       18           validity of the Swap contracts?
       19      A.   Any theories that we discussed -- I'll give you two
       20           answers. One, many of the theories, my understanding
       21           is and somebody -- I haven't read all of the
       22           objections, but I've read some of them. Some of the
       23           objections in this case have discussed some of those
       24           theories.
       25                      Two, any theories which we would have
   161: 1           examined, either independently or in the context of
        2           reviewing and handicapping the probability of success
        3           of some of the objections, would have been done with
        4           counsel.
        5      Q.   And so you'll refuse to describe both the theories and
        6           their likelihood of success because it would invade
        7           the attorney-client privilege; is that correct?
        8      A.   Yes. Unfortunately, yes.
        9      Q.   If I asked you what likelihood of success the City
       10           attributes to an action seeking to declare the Swaps
       11           invalid, you'll decline to answer that on the
       12           attorney-client privilege?
       13      A.   Yes.


   Designation:
   161:22    Q.     In your proposal for creditors on June 14, 2013, you
       23           said that the City has identified certain issues
       24           related to the validity and/or enforceability of the
       25           COPs --
   162: 1    A.     Yes.
        2    Q.     -- that may warrant further investigation.
        3    A.     Yes.
        4    Q.     Do you remember that?
        5    A.     Yes.
        6    Q.     I'm saving us from having to go through that --
        7    A.     Yeah, yeah. No. I remember.
        8    Q.     What issues has the City identified?
        9                      MR. SHUMAKER: Again, I'm going to caution
       10           the witness --
       11    A.     Yeah.
       12                      MR. SHUMAKER: -- if this is going to
       13           reveal attorney-client communications to not answer.
       14                      Subject to that, you can answer.
       15    A.     Here again, there would be no issues that -- and I
       16           hate to keep saying this. There'd be no issues that I
       17           independently would have identified because I'm trying
       18           very hard not to act as a lawyer. I would have only
       19           identified those issues and had discussions of them in


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       20           consultations with my attorneys. So whether there are
       21           issues such as void ab initio, fraud, any of the other
       22           issues that typically go to contracts, I would only
       23           have had those discussions with counsel, so
       24           consequently I can't speak to this.
       25      BY MR. HACKNEY:
   163: 1      Q.   Okay. And you'll assert the attorney-client privilege
        2           as a protection against describing the invalidity of
        3           the COPs analysis?
        4      A.   Yes, because I did no independent analysis.
        5      Q.   Has the City completed its investigation into this
        6           issue?
        7      A.   No. The City's investigation into a number of things
        8           are ongoing.
        9      Q.   Okay. And this is one of them?
       10      A.   This is one of them, yeah.
       11      Q.   Okay. So the City hasn't reached a conclusion on this
       12           subject because it hasn't concluded its investigation
       13           into the subject, correct?
       14      A.   It -- I think that's fair, yes.
       15      Q.   And has the City considered whether the service
       16           agreements between the service corporations and the
       17           City are lawful?
       18      A.   I don't recall if we looked into that.
       19      Q.   So that's one that you --
       20      A.   I just don't recall if that was one.
       21      Q.   You may have investigated, you may have not?
       22      A.   Correct. I don't recall that one.
       23      Q.   If you have investigated, do you know if the
       24           investigation has concluded or do you not know?
       25      A.   No. If we had investigated or are investigating it,
   164: 1           my understanding it would not have been concluded.
        2      Q.   Okay. So much like with the COPs, generally the
        3           validity of the service contracts with the City is a
        4           subject of ongoing investigation that has not yet
        5           concluded.
        6      A.   It may be the subject of ongoing investigation which
        7           has not yet concluded.
        8      Q.   Okay. If I asked you how either of those two
        9           investigations, the one into the COPs validity or the
       10           one into the service contracts validity, impacted your
       11           decision to enter into the forbearance agreement, you
       12           will decline to answer because it would tend to reveal
       13           attorney-client communications?
       14      A.   For all the reasons we discussed today, the -- yes, I
       15           would have to.
       16      Q.   Mr. Orr, let me ask you about under section 803 of the
       17           service contracts --
       18      A.   Yeah.
       19      Q.   -- I'm going to save us both from having to go through
       20           them --
       21      A.   Yeah.
       22      Q.   -- so I'll represent to you what it relates to and see
       23           if you've heard of it.
       24      A.   Okay.
       25      Q.   Okay?


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   165: 1                       Under section 803 of the service contracts
        2            payments by the City to the service corporations are
        3            classified according to a waterfall.
        4      A.    Um-hm.
        5      Q.    Have you heard of this waterfall?
        6      A.    Yes.
        7      Q.    Okay. Did you evaluate whether there were any claims
        8            that any parties to the structure might have against
        9            one another if the forbearance agreement leads to the
       10            payment of monies outside of the waterfall?
       11      A.    I assume you're alluding to prioritization or
       12            subordination in claims along those regards, and the
       13            answer: I think there probably was, but, here again,
       14            I would -- I did not do it independently. It would
       15            have been done by my counsel.
       16      Q.    Okay. So you can't tell me the fruits of the analysis
       17            or the City's position on the likelihood of success on
       18            the issue because it's protected by the
       19            attorney-client --
       20      A.    That is --
       21      Q.    -- privilege?
       22      A.    -- correct.
       23      Q.    If I ask you how it impacted your decision to enter
       24            into the forbearance agreement, you'd also not be able
       25            to answer that on the basis of the attorney-client
   166: 1            privilege?
        2      A.    That is correct. In addition, that's part of the
        3            deliberative process.
        4      Q.    Have you analyzed whether or not COP holders might
        5            have claims against the Swap counterparties if the
        6            City exercises the optional termination right?
        7      A.    There -- have we analyzed it? The answer is yes, I
        8            believe so.
        9      Q.    Okay. What's the result of that analysis?
       10      A.    Here again, any discussion would have been caught up
       11            in discussions I would have had with my counsel in
       12            that regard, so I decline to answer the question.


   Designation:
   166:22    Q.      We've just been talking now about the COPs. We've
       23            talked about the Swaps a lot. I'm going to for a
       24            moment reference the 2006 COPs Swap transaction
       25            documents.
   167: 1    A.      Okay.
        2    Q.      Do you know generally what I mean when I say that?
        3    A.      Yes. The original documents by which the City
        4            borrowed money, 1.4 billion, for the unfunded
        5            actuarial liability --

   Designation:
   167: 7    A.      For the unfunded actuarial liability involve -- the
        8            organic documents.


   Designation:


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   167:10      Q.   That is exactly correct. And, to name a few, there
       11           are the service contracts, the contract administration
       12           agreement, the trust agreement, and the master and --
       13           and amended Swap agreements, correct?
       14      A.   Yes.
       15      Q.   You've heard of all of those?
       16      A.   Yes.
       17      Q.   And there are multiple versions of them?
       18      A.   There are multiple versions of them.
       19      Q.   For example, there are two service contracts --
       20      A.   That's right.
       21      Q.   -- because there are two service corporations.
       22      A.   That's right.
       23      Q.   Now, your understanding is that some of these
       24           documents were amended in 2009 in connection with the
       25           addition of the collateral agreement to the package,
   168: 1           correct?
        2      A.   Yes. I'm going to take your meaning -- the amendment
        3           to mean that's the -- yes, the net effect of what
        4           happened in 2009.
        5      Q.   Okay. Did you know, for example, that the service
        6           contracts were also literally amended --
        7      A.   Yes.
        8      Q.   -- as part of that?
        9      A.   Yes. We're talking generally about all the documents
       10           without specifically going into each one.
       11      Q.   Although I did -- I did in that last one.
       12      A.   Yeah, you did, and so I'm following your lead on what
       13           we're talking about.
       14      Q.   Okay.
       15      A.   Okay.
       16      Q.   The Swaps were also themselves amended in addition to
       17           the collateral agreement being created?
       18      A.   I believe so.


   Designation:
   169: 2    Q.     I believe the City ordinance describes this as all one
        3           transaction.
        4    A.     Right.
        5    Q.     Do you have a basis to dispute it?


   Designation:
   169: 8    A.     Yeah.


   Designation:
   169:10    A.     Yeah, I have no basis to dispute it.     Yeah.


   Designation:
   169:17    Q.     You took a look at them. You know that they all refer
       18           to one other and relate to one another.




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   Designation:
   169:22    A.   Yeah, if -- without drawing any legal meaning to the
       23         concept that they all refer to one another, I believe
       24         that they do.


   Designation:
   170: 1    Q.   Now, the forbearance agreement that you just signed on
        2         July 15th, that also references the 2006 transaction
        3         documents, correct?
        4    A.   I believe so.
        5    Q.   Okay. In fact, doesn't it borrow certain terms from
        6         some of those documents?
        7    A.   Without -- yeah, without reviewing the 2005 and 2006
        8         documents or spending time here today reading through
        9         this agreement, I believe that's accurate.


   Designation:
   170:15    Q.   The -- do you know that one of the things that the
       16         City agreed to do under the forbearance agreement is
       17         that during the optional termination period --
       18    A.   Right.
       19    Q.   -- the City won't try to seek to invalidate any of the
       20         2006 transaction documents?
       21    A.   I believe that's true.
       22    Q.   Okay. That's one piece that's big enough that you're
       23         familiar with?
       24    A.   Yeah, I believe that's true.
       25    Q.   So is it fair to say that the 2006 transaction
   171: 1         documents, the collateral agreement from 2009, and the
        2         forbearance agreement are all documents that relate to
        3         the same subject matter?
        4    A.   Without drawing a legal conclusion, I believe in a
        5         broad sense it's fair to say that they relate to the
        6         same subject matter, meaning the Swaps.
        7    Q.   Does the forbearance agreement amend any of the
        8         provisions in the 2006 COPs or Swap transaction
        9         documents?


   Designation:
   171:12    A.   Yeah. I want to be very careful here. In addition to
       13         the document speaks for itself, I don't want to draw a
       14         relationship between the COPs document, which is
       15         separate, to the Swaps document.
       16                    When I said they relate broadly to the
       17         subject, to the extent COPs were money borrowed to try
       18         to fund a pension obligation, and the Swaps were in
       19         place as a hedge against the interest rate
       20         fluctuations in those documents, and the collateral
       21         agreement 2009 was a document that was meant to
       22         address defaults that had occurred in relation to the
       23         Swaps document, and this document was meant to address



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       24         the Swaps, they relate to that same subject area, but
       25         I don't want to have my testimony suggest that there's
   172: 1         a legal relationship between the COPs and the Swaps
        2         document as relates to this agreement, forbearance and
        3         optional termination agreement.


   Designation:
   172: 5    Q.   So as you sit here today, is your answer that you
        6         don't know if the forbearance agreement amends any of
        7         the 2006 COPs Swap transaction documents? It may, it
        8         may not, you don't know?
        9    A.   That is -- that is correct. I'm not going to draw a
       10         legal conclusion.


   Designation:
   173: 8    Q.   Okay. Is it your understanding that the 2006 COPs
        9         Swap transaction documents retain their vitality as
       10         legal agreements to the -- of the parties thereto?
       11    A.   It's my understanding that they have whatever vitality
       12         they have according to their terms.
       13    Q.   Okay. So all the rights that all the parties to the
       14         COPs Swap transaction documents had before the
       15         forbearance agreement, they still have today?
       16    A.   No. Here again, you're -- I just want to be careful.
       17         It seems that you're trying to conflate COPs with
       18         Swaps, and I want to be careful.
       19    Q.   Well, I want to say all of them, but if you say no,
       20         it's different on these, some rights have changed, but
       21         on these everyone's rights are preserved, that's okay.
       22    A.   Yeah, I want to be careful as far as saying what their
       23         rights are because I do believe those are legal
       24         questions, and in fact some of them are being
       25         litigated in the various piece of litigation that are
   174: 1         going on.
        2    Q.   Hence this deposition?
        3    A.   Hence this deposition. So I want to be very careful
        4         that I not give any testimony that would implicate a
        5         legal conclusion with regard to those documents.
        6    Q.   And I'm not asking for a legal conclusion. I'm just
        7         asking for your understanding as the signatory --
        8    A.   Right.
        9    Q.   -- as to whether the COPs Swap transaction documents,
       10         whether all the parties preserved their rights under
       11         those documents, not withstanding the forbearance
       12         agreement, or whether the forbearance agreement
       13         changes the parties' rights under those documents.
       14    A.   And that's why I'm being careful because my
       15         understanding of the forbearance agreement is that it
       16         imposed upon the City, service corporations and the
       17         counterparties certain obligations to forebear. I'm
       18         not going to draw a legal conclusion as to whether or
       19         not that amended any rights or changed any rights
       20         under the original documents.
       21    Q.   It may have, it may not have?


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       22      A.   It may. It may have not. I'll leave that to the
       23           attorneys.
       24      Q.   It may constitute a waiver, it may not constitute a
       25           waiver, you'll leave that to the attorneys?
   175: 1      A.   I'll leave that to the attorneys.
        2      Q.   At the time that you entered into the forbearance
        3           agreement, were you aware that the Swap insurers had
        4           the right to consent to waivers, modifications or
        5           amendments of the Swap agreement and the collateral
        6           agreement?
        8      A.   I was aware that some of the Swap insurers had
        9           asserted they had those rights. I had drawn no
       10           independent legal conclusion as to whether or not they
       11           did.
       13      Q.   Okay. So you didn't know whether they were right or
       14           they were wrong --
       15      A.   Correct.
       16      Q.   -- at the time you executed the agreement?
       17      A.   I had had discussions with my attorneys about whether
       18           they were right or they were wrong, but I had no
       19           independent conclusions.
       20      Q.   And you won't disclose the subject of your counsel's
       21           communications?
       22      A.   I cannot disclose that subject because that's an
       23           attorney-client communication.
       24      Q.   Did you evaluate when you entered into the forbearance
       25           agreement, whether the act of entering into it would
   176: 1           multiply the amount of litigation that the City might
        2           face?
        3      A.   I think it's fair to say that we considered whether it
        4           might. Any time you're in a transaction I think you
        5           consider whether it might suborn litigation, yes.
        6      Q.   And what were your conclusions on this subject?
        7      A.   Here again, any conclusions we would have had would
        8           have been in this whole air of discussions with my
        9           counsel. What I can say, without saying what my
       10           conclusions specifically were of the probability that
       11           it might create additional litigation, is I thought
       12           that overall it was in the best interest of the City
       13           to enter into agreement.
       14      Q.   But you won't disclose to me your communications with
       15           your counsel about whether this might multiply the
       16           amount of litigation?
       17      A.   That is correct. Multiply, increase, whatever.
       18      Q.   And have you -- did you evaluate whether performing
       19           under the forbearance agreement, performing -- and by
       20           that I mean exercising the option.
       21      A.   Right.
       22      Q.   Whether -- let me say it again.
       23                      Have you evaluated whether exercising the
       24           option under the forbearance agreement might subject
       25           the City to additional liability?
   177: 1      A.   Here again, all of these issues regarding potential of
        2           contingent claims, additional litigation, the
        3           advisability of entering into the agreement,
        4           considering that we were in litigation, and as I said


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        5           before there may have been litigation threats made
        6           additionally, were taken into consideration in
        7           consultation with my counsel.
        8      Q.   But you can't disclose those communications?
        9      A.   They are attorney-client communications.

   Designation:
   178: 5    Q.     Let me hand you what I've marked as Orr Exhibit 4.


   Designation:
   178:10    Q.     Do you have Orr Exhibit 4 in front of you, sir?
       11    A.     Yes, I do.
       12    Q.     So, Mr. Orr, I'll represent to you that this is the
       13           proposed order that your counsel submitted along with
       14           the motion.


   Designation:
   178:17    Q.     Do you understand that?
       18    A.     Yes. Yes, I do.


   Designation:
   179:20                      Do you understand the Swap counterparties
       21           and the City and the service corporations -- there's a
       22           provision in the forbearance agreement that talks
       23           about the fact that you need to get an order
       24           entered --
       25    A.     Sixty days.
   180: 1    Q.     -- that's mutually agreeable.
        2    A.     Yes.
        3    Q.     And that was the 60-day time period.
        4    A.     Yes.
        5    Q.     And we can find the specific provision, but --
        6    A.     Yes.
        7    Q.     -- you know what I'm talking about.
        8    A.     Yes, I do.
        9    Q.     Okay. So the form of the order is important.
       10    A.     Um-hm.
       11    Q.     Is that a yes?
       12    A.     Yes.
       13    Q.     And it's important because if the order changes
       14           materially, it might arguably give the Swap
       15           counterparties the right to declare an end to the
       16           termination period.


   Designation:
   180:19    A.     Here again, without making a legal assessment, I
       20           understand your meaning that we -- we have an
       21           obligation in the City to make sure the order is in a
       22           form that is mutually agreeable to the parties.




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   Designation:
   180:24    Q.   And this is it, right?
       25    A.   That is the proposed order.
   181: 1    Q.   And this one, you know, is mutually agreeable to the
        2         parties.
        3    A.   I believe that it is, yes.
        4    Q.   I mean, you may not have negotiated it --
        5    A.   Correct.
        6    Q.   -- personally, but it's your expectation that people
        7         acting on your behalf then went to make sure that the
        8         proposed order was mutually agreeable to the Swap
        9         counterparties?
       10    A.   That is correct.


   Designation:
   182:19    Q.   Okay. But if the Court enters an order that is not
       20         mutually agreeable to the City and the Swap
       21         counterparties, that could give the Swap
       22         counterparties the right to terminate the optional
       23         forbearance period?

   Designation:
   183: 1    A.   Yes. Here again, it's speculative, in my -- but I
        2         don't anticipate that experience. In my experience
        3         most judges are -- my experience is that many judges
        4         are very careful not to undermine the underlying
        5         agreement by the order that's entered.


   Designation:
   183: 7    Q.   So we can agree, though, that this order is an
        8         important part of the forbearance agreement, correct?
        9    A.   Yes. I think the order is relevant to the forbearance
       10         agreement.
       13    Q.   And it's important to it?
       15    A.   I think it's a -- yes.


   Designation:
   184:11    Q.   Do you know who -- do you know whether anyone
       12         approached the service corporations to get their views
       13         on the order?
       14    A.   I do not.
       15    Q.   You certainly didn't?
       16    A.   No.


   Designation:
   187:24    Q.   Let me ask you about some of them then. Look on the
       25         page 3 at E which is entitled Consent to Use of Casino
   188: 1         Revenues.
        2    A.   Um-hm. Um-hm.
        3    Q.   And it contains a finding that says, "Pursuant to
        4         section 1.2 of the forbearance agreement, UBS AG and



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        5           MLCS consent to the City's use of the casino revenue
        6           as set forth in the forbearance agreement."
        7                      Do you see that?
        8      A.   Yes, I do.
        9      Q.   And then it says, "The consent of the UBS AG and MLCS
       10           will allow the City immediate access to its casino
       11           revenue as set forth in forbearance agreement and no
       12           other or further consents are required."
       13                      Do you see that?
       14      A.   Yes, I do.
       15      Q.   Okay. Is this an important part of the proposed
       16           order?

   Designation:
   188:18    A.     Well, first, the document speaks for itself.     Two --


   Designation:
   188:20    Q.     It doesn't speak for itself in terms of whether it's
       21           important.
       22    A.     Well, let me respond. Two, to the extent this is an
       23           order into a motion, it -- as we had discussed earlier
       24           today, it's important that we have unfettered access
       25           to the casino revenue; and, three, I do think this is
   189: 1           a central aspect of the forbearance agreement.


   Designation:
   189:12    Q.     Take a look at paragraph G, arms' length agreement.
       13           The forbearance agreement was negotiated at arms'
       14           length and in good faith by all parties, and it goes
       15           on to say, "UBS AG and MLCS are not insiders of the
       16           City as that term is defined in bankruptcy code
       17           section 10131?
       18    A.     Um-hm.
       19    Q.     And this is the important part I want to you focus on,
       20           "The parties entry into and performance under the
       21           forbearance agreement does not violate any law,
       22           including the bankruptcy code, and does not give rise
       23           to any claim or remedy against the parties thereto
       24           except as may be expressly set forth in this order or
       25           in such agreement."
   190: 1                      Do you see that?
        2    A.     Yes.
        3    Q.     Do you remember earlier we talked about whether if the
        4           City performed under the forbearance agreement it
        5           would be able to do so without the fear of liability
        6           to other parties?
        7    A.     Yes.
        8    Q.     And your understanding was it could do so, correct?
        9    A.     Yes.
       10    Q.     And that so could the Swap counterparties, correct?
       11    A.     Yes.
       12    Q.     And isn't this provision one part of the basis for
       13           your -- for that view?
       14    A.     Well, you know, as I said, this provision draws a


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       15           legal conclusion and I have not independently or as an
       16           attorney done an analysis of what this provision will
       17           provide, but that's my understanding, yes.
       18      Q.   Are you just reading this provision for the first
       19           time?
       20      A.   No. I think I -- as I said, I think I saw the order
       21           attached to the motion. I just didn't recall it
       22           immediately or as terms by itself. I was more
       23           familiar with the motion because I read that in
       24           conjunction with my affidavit that was attached to the
       25           motion, but I think that's the effect of what this
   191: 1           provision does.
        2      Q.   Is this an important part of the order --
        5      Q.   -- from the City's perspective?
        7      A.   Yes, without giving rise to the nomenclature
        8           important. As I said before, it's important that we
        9           have certainty and -- regarding the use of the casino
       10           revenue, and this term certainly looks like it would
       11           provide that.
       13      Q.   Okay. And not only does it provide you the certainty
       14           about the casino revenue, it provides you with the
       15           certainty that you will not be -- the City will not be
       16           subject to any liability as a result of performing
       17           under the forbearance agreement, correct?
       18      A.   Yes, I believe so.
       19      Q.   And it does the same thing for the Swap
       20           counterparties, correct?
       21      A.   Yes, I believe so.
       22      Q.   Take a look at paragraph 4 on the bottom of page 4.
       23      A.   Um-hm.
       24      Q.   It says, "The forbearance agreement is approved in its
       25           entirety. The City is authorized to perform its
   192: 1           obligations that arise from the forbearance agreement
        2           pursuant to Bankruptcy Rule 9019, and any actions
        3           taken heretofore in furtherance of these obligations
        4           are hereby ratified."
        5                      Do you see that?
        6      A.   Yes, I do.
        7      Q.   You understand that to be a provision by which the
        8           Court provides a judicial authorization to the City
        9           and the Swap counterparties to perform under the
       10           forbearance agreement, correct?
       15      A.   My understanding --
       17      A.   My understanding is that is the practical effect of
       18           this provision.
       20      Q.   Okay. Is this an important part of this order?
       21                      MR. SHUMAKER: Objection to form.
       22      A.   I think approval of the forbearance agreement is an
       23           important part of this order, yes.
       25      Q.   But also the judicial authorization to perform.
   193: 1      A.   Yes, I believe so.
        2      Q.   Let me -- let me cut through some of these provisions,
        3           which is, what the parties really want the Court to do
        4           here, both the City and Swap counterparties, is to
        5           tell them you are allowed to perform this forbearance
        6           agreement without fear of reprisal from any third


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        7           party, correct?
       10      A.   Yeah, and I also think it calls for a legal
       11           conclusion, but let me see if I can answer the
       12           question. The motion sets forth what I believe are
       13           the conditions necessary for approval of the
       14           forbearance agreement. This order seeks to approve
       15           that motion, so to the extent it does that, yes, I
       16           believe it authorizes the parties to perform and gives
       17           them the authority to go forward to a motion according
       18           to its terms which incorporates by definition the
       19           forbearance agreement, so yeah.
       21      Q.   And they can do so without fear of liability to third
       22           parties.
       23      A.   You know, that -- that impacts upon -- I believe that
       24           may impact upon the question is not atypical in some
       25           orders as far as -- as we discussed earlier today,
   194: 1           releases, third party liability, exculpation, those
        2           are legal conclusions. My understanding is that the
        3           way the order is -- is worded that, yes, it allows the
        4           parties to go forward.
        5                      COURT REPORTER: To --
        6                      THE WITNESS: To go forward.
        7                      MR. HACKNEY: Without liability to third
        8           parties.
        9      BY MR. HACKNEY:
       10      Q.   I think we're going over ground we've gone over
       11           before.
       12      A.   Yeah. I believe that's the intent of the order, yes.
       13      Q.   Okay. So one of the benefits of the order to the City
       14           and the Swap counterparties is that to the extent
       15           there are third party claims -- and I know you're not
       16           conceding that there are any --
       17      A.   Right.
       18      Q.   -- it clears them away.
       19      A.   I believe that's accurate, which is one of the -- yes.
       20           I believe that's accurate.


   Designation:
   197:13    Q.     The -- I want to talk about the source of proceeds for
       14           any potential termination payment down the road. This
       15           is a subject I discussed with Mr. Buckfire yesterday.
       16    A.     Um-hm.


   Designation:
   198:15    Q.     And I'm going to give you some notional amounts that
       16           are based on comments your counsel has made in court,
       17           just to try and get general agreement.
       18    A.     Sure.


   Designation:
   198:19    Q.     But it's very possible that the amount of the
       20           termination payment could be between 180 and 220
       21           million dollars?


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   Designation:
   198:23    A.   I think that's fair. We certainly hope it's on the
       24         lower end or lower of that scale, but that depends
       25         what the rates are at any given day.


   Designation:
   199: 2    Q.   Okay. Now, let's link up the potential sizeable
        3         termination payment that the City may have to marshall
        4         if it wants to exercise the option with the City's
        5         current financial capabilities.
        6    A.   Yes.
        7    Q.   Okay. Isn't it true that the City does not currently
        8         have enough cash on hand to be able to fund a
        9         termination payment that was in the range of 200
       10         million dollars?
       11    A.   That is true.

   Designation:
   199:15    Q.   Do you know how much cash the City has today?
       16    A.   On any given day, we fluctuate approximately in the
       17         neighborhood of I want to say 30 to 40 million
       18         dollars. Right now that number may be a little bit
       19         higher because we just went through one of our tax
       20         collection periods in August.


   Designation:
   200: 3    Q.   Do you still project that you're going to run out of
        4         cash by the end of the year?
        5    A.   If we don't have this agreement, there's a very real
        6         chance, yes, in a steady state, we will run out of
        7         cash.
        8    Q.   And by -- what do you mean by a steady state?
        9    A.   If we don't do anything such as secure this casino
       10         revenue, if we don't go to the capital markets and
       11         borrow additional funds, which appears unlikely which
       12         the City has done every other year since 2008 to make
       13         up the difference, yes, the projections show that by
       14         December of this year, we will run out of cash.
       15    Q.   Are those the pre-bankruptcy projections?
       16    A.   Yes. I believe so.
       17    Q.   Those are the projections that we'll get into in a
       18         moment that -- but that assumes that the City's paying
       19         its legacy expenditures on a current basis, right?
       20    A.   Yes. As we have -- as we have represented, we intend
       21         to continue doing that throughout the year.


   Designation:
   201: 8    Q.   So let's go back to sourcing this termination payment.
        9    A.   Yes.
       10    Q.   It was my understanding of his testimony that



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       11           Mr. Buckfire who, by the way, is the individual tasked
       12           with obtaining the City's post petition financing,
       13           correct?
       14      A.   Yes.
       15      Q.   And is presumably the individual that's most
       16           knowledgeable about that effort?
       17      A.   Yes.
       18      Q.   It was -- I'll represent to you that his testimony was
       19           that the proceeds for the optional termination payment
       20           would likely come from the post -- the proceeds of the
       21           post petition financing?
       22      A.   Yes.


   Designation:
   201:25    Q.     Is that also your understanding?
   202: 1    A.     Yes.


   Designation:
   203:10    Q.     So I do want to talk about -- this is important.
       11           Okay. This is -- isn't it true that one aspect of the
       12           DIP -- I'm not going to get into the others -- is that
       13           the casino revenues will be pledged or anticipated to
       14           be pledged as collateral for the post petition
       15           financing?
       16    A.     Let me say this. That is certainly under
       17           consideration.
       18    Q.     Okay. Now, isn't it also true, though, that the
       19           casino revenues have not currently been freed up on a
       20           permanent basis because the City has not currently
       21           exercised the option, correct?
       22    A.     The certainty that we hope to get out of the
       23           forbearance agreement has not been approved yet,
       24           correct.
       25    Q.     Well, even if it is approved by the Court, you still
   204: 1           won't have exercised the option.
        2    A.     That is true with regard to the optional termination
        3           payment.

   Designation:
   204: 6    Q.     And you need to exercise the option to terminate the
        7           hedge, right?
        8    A.     Yes.


   Designation:
   204:17    Q.     You think it's a fair characterization that you need
       18           to get the hedge terminated to get the collateral
       19           agreement terminated?
       20    A.     Yes.
       21    Q.     And the good part for the City, if those things
       22           happen, is that now you have unchanneled access to the
       23           casino revenues going into the future?
       24    A.     Yes, as we've said today, that certainty is one of the
       25           motivations to enter into the agreement.


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   205: 1      Q.   But do you also understand that you can't currently
        2           pledge the casino revenues to a post petition lender
        3           in a -- prior to having exercised the option under the
        4           forbearance agreement?
        5      A.   Well, let's be careful without drawing legal
        6           conclusions. You can always enter into agreements
        7           that have contingencies attached to them and the
        8           parties will wait for those contingencies to occur.
        9           That certainly has happened with a number of different
       10           negotiations, not just in this case, but happens all
       11           the time.
       12      Q.   That's fair that you absolutely -- you make a pledge
       13           that's contingent on something else. But isn't it
       14           true that, as a general matter, post petition lenders
       15           typically like to make sure that they have clean
       16           collateral before they make a loan that's secured by
       17           that collateral?


   Designation:
   205:20    A.     I think that's generally a fair characterization;
       21           however, there have been cases that I've been involved
       22           with outside of this one where post petition lenders
       23           have been willing to make pledges or commitments
       24           subject to certain contingencies.


   Designation:
   206: 1    Q.     Isn't it your expectation today, though -- is it -- is
        2           it your expectation today that any post petition
        3           lender will want clear -- a clear lien on the casino
        4           revenues before it's willing to lend? Is that your
        5           current expectation?
        6    A.     Well, my current expectation is it might well want
        7           clear lien before it's willing to fund. I would think
        8           in many of the bankruptcy cases that I've been
        9           involved in, post petition lenders, for instance, are
       10           willing to make commitments subject to the Court
       11           approving their super priority liens, and then once
       12           that approval is granted, they fund the loan, so
       13           that's fairly common.
       14    Q.     I'm going to confirm for the record that conversations
       15           with the State of Michigan about providing DIP
       16           financing or with the federal government about
       17           providing DIP financing are still questions that you
       18           will refuse to answer on the grounds of commercial
       19           sensitivity?


   Designation:
   206:24    Q.     Are they commercially sensitive?
       25    A.     They are commercially sensitive, but I don't want to
   207: 1           mislead you. It is my assumption that, while they're
        2           commercially sensitive, that's not going to be
        3           forthcoming.
        4    Q.     Oh, really?


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        5      A.    Yes.
        6      Q.    So just to tie it up, you tried to get a -- whether
        7            it's credit enhancement or liquidity from the State
        8            and the Feds, and your expectation is that you won't
        9            be able to?
       10      A.    My understanding at the State level is that there's
       11            certain prohibitions of the State law on the ability
       12            of the State to lend to the City, and at the Federal
       13            level my understanding is that it's not going to be
       14            forthcoming, direct aid.
       15      Q.    Interesting. And what about credit enhancement by the
       16            State?
       17      A.    Here again, it's highly commercially insensitive --
       18            sensitive. I don't want to say anything that
       19            forecloses it, but we -- let me answer it this way.
       20            We are operating on the assumption that that will not
       21            come -- be forthcoming.
       22      Q.    The casino revenues are about 170 million dollars a
       23            year; isn't that correct?
       24      A.    Yeah, 170, 180 somewhere in there.
       25      Q.    Yeah. In fact, that -- it's interesting because the
   208: 1            DIP proceeds you're seeking are up to 350; is that
        2            correct?
        3      A.    Here again, those are commercially sensitive, but I
        4            think that's fair. Yes, I think that's fair.
        5      Q.    Okay. And that's the equivalent of two years' worth
        6            of casino revenues, correct?
        7      A.    Yes.


   Designation:
   209: 5    Q.      The fact of the matter is the DIP process is just
        6            getting off the ground, correct?
        7    A.      I think that's fair to say.
        8    Q.      I think it's literally in the last couple days, right?
        9    A.      I think that's fair.
       10    Q.      So you don't know as you sit here today, and you
       11            probably wouldn't tell me if you did --
       12    A.      Right.
       13    Q.      -- what the current appetite of the lenders is for
       14            uncertainty around the casino revenues, correct?
       15    A.      That -- that I think is part of the process. Yeah.
       16    Q.      Now, have you attempted to borrow money -- has the
       17            City attempted to borrow money and secure those
       18            borrowings with a lien on something other than the
       19            casino revenues?
       20    A.      No.
       21    Q.      Is the -- is the City considering pledging art as
       22            collateral?

   Designation:
   211: 2                       MR. SHUMAKER: I'm going to say that's --
        3            we're drawing a line. We're getting into specifics,
        4            and I'm going to instruct him not to answer.
        5                       MR. HACKNEY: I -- okay. That's just all I
        6            need to know for the record.


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   Designation:
   211:11    Q.   The City does have other revenue streams; isn't that
       12         correct?
       13    A.   Yes.
       14    Q.   In fact, on an annual basis, the City's revenues are
       15         in the neighborhood of a billion to a billion 1,
       16         correct?
       17    A.   Yes, I think that's fair.
       18    Q.   And on an annual basis, the casino revenues are in the
       19         range of 170 to 180 million?
       20    A.   Yes.
       21    Q.   Roughly a little less than 20 percent of the City's
       22         annual revenues.
       23    A.   17 and a half, 18 percent.


   Designation:
   211:25                    So have you engaged the possibility of
   212: 1         pledging other revenue streams as security for the
        2         DIP?
        3    A.   This is a commercially sensitive area. In addition,
        4         there are potentially legal issues that must be
        5         resolved. Suffice it to say we have examined a number
        6         of different possibilities, looking at what options we
        7         might have given the City's various ordinary revenue
        8         streams.
        9    Q.   And are there other revenue streams that could be
       10         pledged? I'm not going to ask you whether you are
       11         going to pledge them, whether you will, whether you
       12         plan to, but are there other revenue streams that
       13         could be pledged?
       14    A.   There might be. There might be, but there's -- here
       15         again, there's certain legal issues regarding any
       16         revenue streams that have to be resolved.


   Designation:
   212:20    Q.   So just in terms of level setting --
       21    A.   Right.
       22    Q.   -- the casino revenues are approximately 15 million a
       23         month.
       24    A.   Yes, I think that's fair.
       25    Q.   Net of the Swap payment which is still made on a
   213: 1         monthly basis under the forbearance agreement --
        2    A.   Yes.
        3    Q.   -- you net about 11 million?
        4    A.   I think that's correct.
        5    Q.   Okay. Your claim is that these revenues are necessary
        6         to the operation of the City. I think we discussed
        7         that earlier.
        8    A.   Yes.
        9    Q.   And in fact it's your expectation that you will use
       10         these revenues to fund the reinvestment program that
       11         you have planned with respect to the 1.25 billion


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       12           dollars of reinvestment in the City over the next ten
       13           years?
       14      A.   Yes, that's correct. An average of 125 million a year
       15           which a big component of it is this revenue.
       16      Q.   Okay. So fair statement, you're going to take the
       17           casino revenues and you're going to plow them into the
       18           City, correct?
       19      A.   More -- I mean, money goes into a bathtub, but yes.
       20           The casino -- we don't have the casino revenue. We
       21           have no other source to make reinvestment in the City.
       22      Q.   And that's what you want to do?
       23      A.   Yes.
       24      Q.   And so as a creditor, I'm going to make the obvious
       25           point that you don't plan to take the casino revenues
   214: 1           and give them to the unsecured creditors, correct?
        2      A.   I think that's generally a fair characterization.
        3      Q.   So isn't it fair that other than perhaps certainly
        4           benefitting the people of Detroit if you reinvested in
        5           the City, the creditors themselves will not see their
        6           recoveries enhanced by the fact that the City has
        7           gained access to these casino revenues, correct?
       10      A.   Yeah, I'm going to be careful here because one of the
       11           things we've offered in our proposal, June 14th
       12           proposal, is a 2 billion dollar note that has some
       13           capacity to fluctuate. Generally speaking, your
       14           statement is true, but there's another concept that
       15           without this reinvestment there's a very real chance
       16           that the City will have no chance to stabilize and
       17           grow and the creditors will see no opportunity for any
       18           benefit because the City would have an inability of --
       19           continue to decline, quality of life will continue to
       20           decline, revenue from other streams will continue to
       21           decline, and the City's ability to satisfy its
       22           obligations to the creditors will continue to decline.
       23      Q.   Now, I understand that distinction, and we're talking
       24           now about the proposal you've made to creditors that
       25           you would give all of the unsecureds --
   215: 1      A.   Yes.
        2      Q.   -- effectively a pot of 2 billion dollars of bonds.
        3      A.   Correct.
        4      Q.   And I want to distinguish between two concepts and
        5           make sure that we're on the same page because I think
        6           that we are.
        7      A.   Right.
        8      Q.   The first point is that you do agree that you're not
        9           going to take the casino revenues and put it on top of
       10           the 2 billion pot to make a larger recovery for
       11           creditors.
       12      A.   Yes, that's fair.
       13      Q.   But you are saying that there could be some value to
       14           the creditors of a revitalized Detroit because that
       15           Detroit will be more able to perform under the
       16           2 billion dollars in bonds that you're going to give
       17           them as part of your proposal?
       18      A.   That's correct.
       19      Q.   Okay. Did I summarize accurately the distinction you


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       20           were trying to draw there?
       21      A.   Yes. Yes. There's a broader concept about the need
       22           to revitalize the City and grow beyond just the
       23           interest of the creditors. It's also for the citizens
       24           and residents and future of the City.
       25      Q.   Oh, absolutely. I understand that.
   216: 1      A.   But, yes, that's generally -- no direct benefit from
        2           the casino revenue.

   Designation:
   216:15    Q.     I understand that as a general concept, but I meant
       16           have you undertaken actually any actual analysis of
       17           the potential Delta 2 creditor recovery?
       18    A.     Oh, from the 120 -- from the casino revenue?
       19    Q.     Right.
       20    A.     Yes, I believe we have.
       21    Q.     And what does it show?
       22    A.     Here again, that's -- it's sensitive and, in addition,
       23           I believe those discussions were caught up in
       24           discussions I had with counsel, so I'm going to have
       25           to decline.
   217: 1    Q.     Those are privileged communications?
        2    A.     I believe so.
        3    Q.     So the analysis of how my client Syncora, as an
        4           unsecured creditor, would do if the assumption motion
        5           is denied versus how it will do if its granted, that's
        6           something that you cannot speak to?
        7    A.     Right, because it goes into the analysis, as we said
        8           earlier today, what would happen if it were denied,
        9           what the options would be to the City, what litigation
       10           risk would happen, what would be caught up in the
       11           existing litigation, all those issues.
       12    Q.     Let me hand you Orr Exhibit Number 3.


   Designation:
   218:24    Q.     Now, you prepared this proposal for creditors that
       25           I've marked as Orr Exhibit 3 in anticipation of your
   219: 1           June 14, 2013 meeting with creditors, correct?
        2    A.     Yes, I and my team put this together.


   Designation:
   221: 2    Q.     So let me draw your attention, if I could, to page 38
        3           of this report.
        4    A.     Yes.
        5    Q.     Now, this is -- this is titled A Look At the Future in
        6           the Absence of Restructuring Initiatives. Do you see
        7           that?
        8    A.     Yes.
        9    Q.     Okay. So what this table is doing is it's saying here
       10           is where the City of Detroit is headed without any
       11           increases in expenditures necessary to restore City
       12           services to adequate levels; without additional
       13           investments by the City and services assets or
       14           infrastructure; and, last, without any changes to


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       15           legacy liabilities, correct?
       16      A.   Yes, that's correct.
       17      Q.   Now, we're going to talk about each of these three
       18           things in a moment, but the fact of the matter is each
       19           of those three things have changed during the
       20           bankruptcy process in terms of what legacy liabilities
       21           are getting paid or what reinvestments are being made,
       22           correct?
       23      A.   To some degree they have and to some degree they
       24           haven't. We are still in a steady state with, for
       25           instance, salary, overtime, fringe, health benefits,
   222: 1           operating expenses, with regard to secure debt
        2           service, pension contributions which remain
        3           underfunded, health benefits are still in a steady
        4           state. We are hopefully in a steady state on a
        5           revenue side as well.
        6      Q.   I was just making --
        7      A.   But, yes.
        8      Q.   I was making a simpler point, which is, for example --
        9           we'll go into this, but like you're not paying the
       10           service payments related to the COPs during the
       11           bankruptcy?
       12      A.   I believe that's correct.
       13      Q.   Okay. And I think you're deferring pension
       14           contributions.
       15      A.   A portion of the pension contributions. For instance,
       16           this year I think we had an obligation of
       17           approximately 131 million dollars. I think we paid 31
       18           million of it.
       19      Q.   Okay. So a portion.
       20      A.   But that is the steady state. The City regularly
       21           defers pension contributions.
       22      Q.   True, true. We'll get into this in a moment here,
       23           but --
       24      A.   Right.
       25      Q.   -- now, the fiscal year of the City runs from June 30
   223: 1           to June 30, right?
        2      A.   Yeah, July 1 to June 30.
        3      Q.   Right. Yeah. Okay.
        4                      And the years that are listed here, it's
        5           your understanding these are the fiscal years,
        6           correct?
        7      A.   2008 to 2012 are fiscal year actuals. 2013 were
        8           preliminary forecasts, at this time forward.
        9      Q.   That's right. This was back in June, so you had a
       10           little -- there was a stub period on June 2013?
       11      A.   Yes.
       12      Q.   When I talked to Mr. Buckfire yesterday, he indicated
       13           that it was his understanding that these years are
       14           July 1, 2013 through June 30, 2014 --
       15      A.   That's correct.
       16      Q.   -- 2014 here?
       17      A.   That is correct.
       18      Q.   Now, the forecast that the City indicates when it
       19           comes to total revenues for the fiscal year that we're
       20           currently in is about 1,082,800,000 in total revenue,


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       21           correct?
       22      A.   That is correct. That's down about 30-some-odd
       23           million dollars from the prior year.
       24      Q.   Right. And if you look at the operating expenditures,
       25           that shows that you anticipate 685.7 million in
   224: 1           operating expenditures during that -- this fiscal year
        2           that we're currently in, correct?
        3      A.   That is correct.
        4      Q.   Now, if you just viewed these things in isolation, you
        5           are representing here a net operating surplus of just
        6           under $400,000,000, correct?
        7      A.   That's roughly, correct, yes.
        8      Q.   Now, the -- and the operating expenditures are the
        9           amount of money that you forecast needing to operate
       10           the City as you found it with its current level of
       11           services when you were appointed, correct?
       12      A.   That is correct.
       13      Q.   Okay. So that's the point of the caveat at the top,
       14           which is you have the aim of improving services in the
       15           City, but when you compiled this expenditures
       16           analysis, this was based on here is how we currently
       17           do things in the City of Detroit, providing the level
       18           of services we currently provide, and here is how much
       19           it costs?
       20      A.   That is correct.
       21      Q.   Now, isn't it true that -- we've talked about the fact
       22           that while the casino revenues fluctuate between 170
       23           and 180 million, even if you took them out of this
       24           forecast, you would still have a net operating surplus
       25           of $227,000,000, correct?
   225: 1      A.   Well --
        2      Q.   Put aside --
        3      A.   Yeah, put aside --
        4      Q.   I understand.
        5      A.   -- debt service and pension contributions, healthcare,
        6           but just looking at operating expenses, that would be
        7           correct.
        8      Q.   And -- that's right. I'm emphatically doing that.
        9           I'm referring to --
       10      A.   Right.
       11      Q.   -- this line. Okay?
       12      A.   Right.
       16      A.   It's in bold. It's the 1, 2, 3, 4th line down.
       18      Q.   And, I mean, can we agree it wasn't an accident that
       19           whoever compiled this broke the legacy expenditures
       20           down below the operating expenditures, correct?
       21      A.   Yes. I'm sure that was intentional.
       22      Q.   Right. And that's because, for example, while
       23           payments to the COPs are likely very important to the
       24           COP holders --
       25      A.   Right.
   226: 1      Q.   -- they're not something that you actually use to run
        2           the City.
        3      A.   Well, yes, it's not an operating expense.
        4      Q.   Right.
        5      A.   It's a debt service.


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        6      Q.   Right.
        7                      A payment to a police officer for their
        8           time or for their benefits, that is an operating
        9           expense?
       10      A.   Absolutely.
       11      Q.   And that's all covered in the operating expenditures.
       12      A.   Yeah. Salary over time and fringe benefits, yes.
       13      Q.   Okay. So if you follow along in my hypothetical and
       14           we took out what we'll call a hundred -- we'll split
       15           the difference. We'll say it's 175,000,000.
       16      A.   Sure.
       17      Q.   I'll tell you in here it's projected to be 170 -- why
       18           don't we use the number here. If we took the 170 out,
       19           you'll still have 227.2 million dollars to work with
       20           from the standpoint of a net operating surplus,
       21           correct?
       22      A.   Yes, roughly $230,000,000.


   Designation:
   236: 7    Q.     I've asked you earlier about selling the art and I
        8           asked you about it as considering it as a potential
        9           backup plan to the negotiations with the Swap
       10           counterparties.
       11    A.     Right.
       12    Q.     Do you remember that testimony?
       13    A.     Yes, I do.
       14    Q.     We went back and forth.
       15    A.     Yes.
       16    Q.     I'd like to bring it forward to the future, to the
       17           present.
       18    A.     Yes.
       19    Q.     Which is, are you under active consideration now of
       20           using the art to alleviate the liquidity crisis and to
       21           do all of the things that you say you want to do in
       22           this proposal?
       23    A.     No. There are no plans to use the art or any other
       24           asset in particular to liquidate it to
       25           relieve liquidity issues in the City. What I have
   237: 1           said when I first took this job, and continue to say,
        2           all options are on the table. We are currently
        3           beginning the process of appraising approximately
        4           3,500 pieces of art in the City of the 66,000 that are
        5           there at the DIA, and once we go through that process,
        6           we will have to decide what, if anything, we need to
        7           do, but I have no plans to use art to relieve the
        8           liquidity crisis that the City is in now.
        9    Q.     So let me offer an observation for you to react to,
       10           which is, earlier on when I was asking you questions,
       11           you were telling me about the terrible things
       12           happening in the City, people dying, being shot, the
       13           seriousness of the problems with which you're
       14           grappling.
       15    A.     Yes.
       16    Q.     You've also identified the assumption motion as
       17           something that needs to be moved along quickly because


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       18           of its importance to the issues that we discussed,
       19           right?
       20      A.   Right.
       21      Q.   Why isn't the art equally important to allowing you to
       22           fix Detroit?
       23      A.   I haven't said that it's not important. What I've
       24           said is there are no plans to liquidate it to address
       25           those concerns. I think it is fair to say that there
   238: 1           has been much debate as to the value of art versus
        2           alleviating a number of other concerns, and I've heard
        3           that debate and I've listened to it, but our first
        4           order of business is to assess what we're talking
        5           about and then we'll decide what, if anything, we need
        6           to do.
        7      Q.   Isn't it fair to say that you certainly haven't put
        8           the art time line, in terms of your decision-making
        9           process, you haven't given it the same sort of speed
       10           you've given to the forbearance agreement time line?


   Designation:
   238:12    A.     Yeah. I think it's fair to say that in our proposal I
       13           think we included roughly 15 buckets of assets, and
       14           none of them have been given the same priority that we
       15           deem the forbearance agreement principally because
       16           we're not in default with regard to art. We're in
       17           default with regard to the Swap agreement.
       18    Q.     Well, that was actually going to be my point, which
       19           is, you own the art.
       20    A.     Yes.
       21    Q.     So you don't have to negotiate with anybody in order
       22           to sell it, right?
       23    A.     No, but a prudent thing to do, and we've said this
       24           before, is to find out what we're talking about first,
       25           and that's why we're going through an appraisal
   239: 1           process.
        2    Q.     Just a few more questions and I'll pass the baton.
        3    A.     Sure.
        4    Q.     I take it that when you were appointed as emergency
        5           fin -- emergency manager, you familiarized yourself
        6           with some of the prior negotiations that had gone on
        7           around efforts to resolve the Swap that I believe were
        8           referenced in the 2012 CAFR of the City of Detroit.
        9    A.     Consolidated report, yes.
       10    Q.     You at least made inquiry as to what happened last
       11           year when you tried to work this out.
       12    A.     Yes.
       13    Q.     And it's also your understanding that the potential
       14           right of the Swap counterparties to terminate the Swap
       15           and demand a large termination payment goes back all
       16           the way to March of 2012; isn't that correct?
       17    A.     At least, yes.
       18    Q.     Thinking that's consistent with your report here --
       19    A.     Yes.
       20    Q.     -- you say that.
       21    A.     Yes.


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       22      Q.   So isn't it true that from March 2012 all the way to
       23           June 4, when Mr. Buckfire went into the negotiating
       24           room for the first time with the Swap counterparties,
       25           during that entire time, the Swap counterparties had
   240: 1           never trapped cash?
        2      A.   To the best of my knowledge, that's true.
        3      Q.   And they had never declared a termination event?
        4      A.   To the best of my knowledge -- to the best of my
        5           knowledge, that's true.


   Designation:
   248:12    Q.     Let's turn now, Mr. Orr, to the topic of the consent
       13           rights or -- of FGIC and Syncora topic that you were
       14           discussing with Mr. Hackney earlier.
       15    A.     Yes.
       16    Q.     And actually, let's focus specifically on the
       17           negotiations that the City engaged in with the Swap
       18           counterparties leading up to the execution of the
       19           forbearance agreement.
       20    A.     Okay.
       21    Q.     And when you were speaking with Mr. Hackney, you
       22           testified that you yourself did not invite either FGIC
       23           or Syncora to those negotiations, correct?
       24    A.     Yes. To the best of my knowledge, that's true.
       25    Q.     And I believe you said you also didn't suggest to
   249: 1           anyone else that they should invite FGIC or Syncora to
        2           those negotiations, correct?
        3    A.     Yes. I believe I testified I did not instruct anybody
        4           to invite them.
        5    Q.     To your knowledge, did anyone else suggest inviting
        6           either FGIC or Syncora to the negotiations?
        7    A.     As I testified earlier today, there were a series of
        8           letters that were exchanged, and at some point there
        9           was some discussion about Syncora submitting a
       10           proposal. That discussion was wrapped up into whether
       11           or not it would sign a reciprocal nondisclosure
       12           agreement. To the best of my knowledge, that never
       13           happened.
       14    Q.     But I think we established that the letter exchanged
       15           with Syncora occurred at some point after June 11th,
       16           when there had been an agreement in principle on the
       17           economic terms of the forbearance agreement; is that
       18           correct?
       19    A.     Yes. I believe we -- we testified that June 11th we
       20           reached agreement and principally documented,
       21           June 14th we had the presentation for creditors, and
       22           the letter I saw earlier today I think was dated
       23           June 17th.
       24    Q.     That's right. So prior to June 11th, did anyone else
       25           to your knowledge suggest inviting either FGIC or
   250: 1           Syncora to the negotiations?
        2    A.     Not to my knowledge, no.
        3    Q.     And you mentioned just a minute ago that there had
        4           been some discussion with Syncora or representatives
        5           of Syncora about an alternative proposal to the


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        6           forbearance agreement, and I think you said to
        7           Mr. Hackney that there had been no negotiations with
        8           FGIC about an alternative proposal; is that correct?
        9                      MR. SHUMAKER: Objection to form.
       10      A.   Yeah, it's a compound question, but I think the way I
       11           would answer it, yes, we would talk about whether or
       12           not someone had been invited. And I think what I said
       13           is to the best of my knowledge I did not invite FGIC
       14           and I did not know if anybody else did.


   Designation:
   253:21    Q.     One of the things you -- one of the things Mr. Hackney
       22           asked you about was if in the course of the
       23           negotiation of the forbearance agreement, you had what
       24           he referred to as a plan B. Do --
       25    A.     Right.
   254: 1    Q.     -- you recall him asking that question?
        2    A.     Yes, I recall that discussion. Yes.
        3    Q.     And you responded by saying, without specifically
        4           having a plan B, you had considered alternative to the
        5           forbearance agreement structure, correct?
        6    A.     Correct.


   Designation:
   255: 9    Q.     Did you consider capital market alternatives to the
       10           forbearance agreement?
       11    A.     We did, but to be perfectly honest with you, the City
       12           had borrowed so much money from the capital markets
       13           without the probability of being able to pay it back
       14           on any reasonable or rational time frame that that
       15           wasn't a serious consideration was taking on more
       16           debt.
       17    Q.     Okay. So you didn't really believe that had you a
       18           what we -- what I just described as a capital market
       19           alternative to the forbearance agreement?
       20    A.     The City has no -- what I've said at the June 10th --
       21           public meeting on June 14th we were addicted to debt
       22           and we had no ability to take on additional debt.

   Designation:
   264: 7    Q.     Mr. Hackney also asked you some questions about the
        8           service corporations and about whether there were any
        9           negotiations on behalf of the City with the service.
       10           Corporations?
       11    A.     Yes.
       12    Q.     Okay. I believe you answered that negotiating with
       13           service corporations would not have been your job. It
       14           would have been Ken Buckfire's or someone else's job
       15           to do that.
       16    A.     Yes. I believe that's right.
       17    Q.     Okay. If it wasn't Ken Buckfire's job, who else's job
       18           would it have been?
       19    A.     It might have been someone else on his team or at
       20           Miller Buckfire or someone else on behalf of the other


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       21           counsel for the emergency manager or the City.
       22      Q.   Someone else in your office you mean?
       23      A.   No. No. Other consultants and attorneys on behalf of
       24           the City.
       25      Q.   Okay. But am I correct that no one has reported to
   265: 1           you that they had negotiations with the service
        2           corporations; is that correct?
        3      A.   Yeah, reported. I'm going to be careful. My
        4           understanding was we had an agreement, I signed it,
        5           and it was sent to the service corporations. I
        6           personally had no negotiations with them, but my
        7           understanding, based upon the fact it was executed,
        8           that whoever needed to procure and secure those
        9           signatures did so.
       10      Q.   You don't know who got those signatures from the
       11           service corporations?
       12      A.   No. Sitting here today I do not.

   Designation:
   265:15                      Do you -- are you assuming then that there
       16           were some negotiations between the City and the
       17           service corporations?
       18    A.     Yeah. Here again, I'm going to say whenever you -- as
       19           I said to Mr. Hackney, whenever you talk about
       20           negotiations, you know, so we don't get bogged down in
       21           nomenclature, I'm assuming that something happened
       22           that had the service corporations aware of the
       23           agreement, that they agreed to and they signed off on
       24           it. So if those constitute negotiations, that's what
       25           I'm assuming, but I'm saying to you that I had no
   266: 1           independent negotiations and I don't know who did
        2           that.
        3    Q.     And you don't have any idea sitting here today about
        4           what those negotiations would have involved, how they
        5           happened, when they happened, how long they took,
        6           anything like that; is that right?
        7    A.     That's right.


   Designation:
   271:15    Q.     And how much do you estimate that more federal
       16           assistance to be?
       17    A.     I have no idea. Whatever -- whatever we can get. If
       18           it's several millions more, if it's several hundreds
       19           millions more, we're going to apply for it.
       20    Q.     Do you think it's a possibility it could be hundreds
       21           of millions more?
       22    A.     Possibility it could be.


   Designation:
   271:23    Q.     Earlier in your testimony you were asked a lot of
       24           questions about legal analyses or legal claims that
       25           might have been made, and on those questions you
   272: 1           claimed attorney-client privilege --
        2    A.     Yes.


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        3      Q.   -- and said that you didn't have an independent view
        4           that didn't come from attorney-client communications.
        5      A.   Yes.

   Designation:
   278:23    Q.     Did you make an independent assessment apart from
       24           advice of counsel as to the strengths -- strengths or
       25           weaknesses of the City's claims against the Swap
   279: 1           counterparties?
        2    A.     Not without the advice of counsel, no.


   Designation:
   284: 3    Q.     Did you have any analysis done as to the cost of a
        4           litigation with the Swap counterparties?
        5    A.     No. I don't recall if any of the documents included
        6           costs. We -- there were discussions about the
        7           potential costs and the timing, but I don't recall if
        8           any of the documents did.
        9    Q.     Okay. What was your best estimate as to how much a
       10           litigation with Swap counterparties would cost the
       11           City?
       12    A.     I don't -- I don't remember what the best estimates
       13           were. They -- they ranged from --
       14                      MR. SHUMAKER: Object. I just want to make
       15           sure you're not going to be revealing any
       16           attorney-client communications with your answer.
       17                      THE WITNESS: Okay.
       18                      MR. SHUMAKER: I'll interject that. I'll
       19           let you answer the question as to whether that was
       20           addressed. I don't want you to go --
       21                      THE WITNESS: Okay.
       22                      MR. SHUMAKER: -- into anything --
       23                      THE WITNESS: Okay.
       24                      MR. SHUMAKER: -- beyond that.
       25    A.     It was addressed, and suffice it to say I think it's
   285: 1           fair to assume that in litigation in the nature you're
        2           discussing that it could go into millions of dollars.


   Designation:
   285: 4    Q.     How about the time it would take to litigate the Swap
        5           counterparties? Did you estimate how long it would
        6           take?


   Designation:
   285: 8    A.     Let's -- let's do it this way. I think it's fair to
        9           say that there were discussions regarding the time for
       10           litigation and/or appeals and the costs that were
       11           involved if that tack was taken.


   Designation:
   285:13    Q.     How long did you estimate it would take to litigate



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       14            with Swap counterparties?
       15      A.    I'm not sure the predicate is there that I estimated
       16            the length of time.
       17      Q.    Okay. If you didn't estimate the length of time,
       18            that's an okay answer to give.
       19      A.    Yeah. I'm trying to be as clear as I can for you and
       20            say that there were discussions, but there's nothing
       21            as specific as the lodestar method of analysis which
       22            you understand is time times hours billed, so on and
       23            so forth. There were discussions and there were
       24            analyses about what it could be.
       25      Q.    Now, I have to unpack that a little bit because you
   286: 1            mentioned the lodestar analysis, one of my favorite
        2            friends. Did you have a lodestar analysis done for
        3            litigation with the Swap counterparties?
        4                       MR. SHUMAKER: Objection, this is getting
        5            into the -- the specific communications between
        6            Mr. Orr and his counsel when you start to go through
        7            what -- what are the particulars of the advice that
        8            was being given. I allowed you to go forward with
        9            whether he considered the length of litigation in his
       10            answer, but I don't want him to go into the specifics
       11            of any sort of analysis that was done by counsel.
       12                       With that admonition, you can answer.
       13      A.    Again, without going to the specifics of discussion
       14            I've had with counsel, there were discussions about
       15            potential length of litigation and appeals and the
       16            potential cost. Those discussions included time that
       17            may have impaired my ability to complete my obligation
       18            within the time frame provided by Public Act 436, as
       19            well as significant costs, litigation cost being
       20            incurred by the City.


   Designation:
   286:22    Q.      Okay. Here is my question again, because in your
       23            answer you mentioned lodestar analysis, so I'm just
       24            asking -- it's a yes or no question.
       25    A.      Um-hm.
   287: 1    Q.      Did you have a lodestar analysis performed with
        2            respect to a litigation with the Swap counterparties?
        3                       MR. SHUMAKER: Again, I'm going to object.
        4            I believe that that question asks the -- asks Mr. Orr
        5            to reveal privileged attorney-client communications
        6            when you get into specific lodestar analysis.


   Designation:
   289:11    Q.      Do you recall whether you ever discussed with any of
       12            the Swap counterparties the City's potential legal
       13            arguments as against the Swap counterparties?
       14    A.      Did I?
       15    Q.      Yeah.


   Designation:


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                            Kevyn Orr
   289:18      A.   No, I don't think I had though those discussions. No.
       20      Q.   Did you ever debate the validity of the Swap
       21           counterparties secured position with anyone from the
       22           Swap counterparties?
       23      A.   Did I personally?
       24      Q.   Yes.
       25      A.   No.


   Designation:
   296: 6    Q.     Well, let me ask you this. Has -- based on this
        7           document, the City's plan is to allocate a 2 billion
        8           dollar note to the unsecureds, and this plan is -- it
        9           has a line item for continuing to pay the Swaps?
       10    A.     Yes.
       11    Q.     Does the 2 billion dollar number change if the Swap
       12           payments change?
       13    A.     To the best of my knowledge, no. I don't assume that.




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